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                 EXHIBIT 22
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                                                                                          OMB Control No. 1505-0080
                                                                   1. THIS CONTRACT IS A RATED ORDER                                  RAT NG                               PAGE       OF    PAGES
              AWARD/CONTRACT                                          UNDER DPAS (15 CFR 350)
                                                                                                                                                                                 1                61
2. CONTRACT (Proc. Inst. Ident.) NO.                               3. EFFECTIVE DATE                                    4. REQUISITION/PURCHASE REQUEST/PROJECT NO.
      TIRNE-13-C-00031                                               09/12/2013                                               L-3-L1-20-E2-X02 000

5. ISSUED BY                                           CODE      12157                              6. ADMINISTERED BY (If other than Item 5)                      CODE


      INTERNAL REVENUE SERVICE
      NE Area Procurement Branch (A:P:F:NE)                                                              See Item 5
      290 Broadway 3rd Floor
      New York, NY 10007

      CHERYL RICHARDSON 212-436-1518

7. NAME AND ADDRESS OF CONTRACTOR (No. street, county, state and ZIP Code)                     Vendor Id: 01693089                       8. DELIVERY
      BOIES SCHILLER & FLEXNER                                                                 Cage Code:6YHP2
      2200 NW CORPORATE BLVD STE 400                                                           Tax ID#:                                        FOB ORIGIN               X OTHER (See below)
      BOCA RATONFL33431                                                                                                                  9. DISCOUNT FOR PROMPT PAYMENT


      MR. HAMISH HUME           202-274-1149                                                                                              Terms: 0% Days: 30 Net: 30

                                                                                                                                         10. SUBMIT INVOICES                 ITEM
                                                                                                                                         (4 copies unless other-
                                                                                                                                         wise specified) TO THE              See Block 12
                                                                                                                                         ADDRESS SHOWN IN:
CODE                                                                    FACILITY CODE

11. SH P TO/MARK FOR                                       CODE         11245                       12. PAYMENT WILL BE MADE BY                                CODE          12108

      Internal Revenue Service
      450 Golden Gate Ave., SF 6107
      San Francisco, CA 94102
                                                                                                    Invoices must be submitted via the Invoice
                                                                                                      Processing Platform at www.ipp.gov


13. AUTHORITY FOR USING OTHER FULL AND OPEN COMPETITION:                                            14. ACCOUNTING AND APPROPRIATION DATA
        10 U.S.C. 2304(c) (            )             X     41 U.S.C. 253(c) ( 1 )                     13130913D L120000 7G 1181

     15A. ITEM NO.                             15B. SUPPLIES/SERVICES                                15C. QUANTITY             15D. UNIT           15E. UNIT PRICE                   15F. AMOUNT
                           See Attached Schedule(s)

                           THIS ORDER IS FOR EXPERT WITNESS
                           SERVICES CONCERNING THE
                           FOLLOWING CASE


                                                                                                                  15G. TOTAL AMOUNT OF CONTRACT $ 350,000.00
                                                                                   16. TABLE OF CONTENTS
(9) SEC.                                   DESCRIPTION                                 PAGE(S)      (9) SEC.                                DESCR PTION                                        PAGE(S)
                                   PART I - THE SCHEDULE                                                                               PART II - CONTRACT CLAUSES

 X      A   SOLICITATION/CONTRACT FORM                                                     2         X     I   CONTRACT CLAUSES                                                                 42 - 56
 X      B   SUPPLIES OR SERVICES AND PRICE/COST                                          1-3                        PART III - LIST OF DOCUMENTS, EXHIBITS AND OTHER ATTACH.

 X      C   DESCRIPTION/SPECS./WORK STATEMENT                                            4 - 14      X     J   LIST OF ATTACHMENTS                                                              57 - 59

 X      D   PACKAGING AND MARKING                                                       15 - 16                             PART IV - REPRESENTATIONS AND INSTRUCTIONS
 X      E   INSPECTION AND ACCEPTANCE                                                      17                  REPRESENTATIONS, CERTIFICATIONS
                                                                                                           K
 X      F   DELIVERIES OR PERFORMANCE                                                   18 - 21                 AND OTHER STATEMENTS OF OFFERORS

 X      G   CONTRACT ADM NISTRATION DATA                                                22 - 28            L    NSTRS., CONDS., AND NOTICES TO OFFERORS
 X      H   SPECIAL CONTRACT REQU REMENTS                                               29 - 41           M    EVALUATION FACTORS FOR AWARD

                                                CONTRACTING OFFICER WILL COMPLETE ITEM 17 OR 18 AS APPLICABLE
 17.          C ONTRACTOR’S NEGOTIATED AGREEMENT (Contractor is                                      18. X     AWARD (Contractor is not required to sign this document.) Proposal accepted
 required to sign this document and return _________ copies to issuing office.) Contractor           which was received on September 6, 2013 including the additions or changes made by you
 agrees to furnish and deliver all items or perform all the services set forth or otherwise          which additions or changes are set forth in full above, is hereby accepted as to the items listed above
 identified above and on any continuation sheets for the consideration stated herein. The            and on any continuation sheets. This award consummates the contract which consists of the
 rights and obligations of the parties to this contract shall be subject to and governed by the      following documents: (a) the Government’s solicitation and your offer, and (b) this award/contract.
 following documents: (a) this award/contract, (b) the solicitation, if any, and (c) such            No further contractual document is necessary.
 provisions, representations, certifications, and specifications, as are attached or incorporated
 by reference herein. (Attachments are listed herein.)

19A. NAME AND TITLE OF SIGNER (Type or print)                                                       20A. NAME OF CONTRACTING OFFICER
                                                                                                           CHERYL RICHARDSON               (b)(6); (b)
19B. NAME OF CONTRACTOR                                                 19C. DATE SIGNED            20B. UNITED STATES OF AMERICA                                          20C. DATE SIGNED

     _______________________________________________                                                BY _____________________________________________
             (Signature of person authorized to sign)                                                           (Signature of Contracting Officer)

NSN 7540-01-152-8069                                                                       26-107                                                      STANDARD FORM 26 (REV. 4-85)
PREVIOUS EDITION UNUSABLE                                                             Computer Generated                                               Prescribed by GSA
                                                                                                                                                       FAR (48 CFR) 53.214(a)




                                                                                                                                                                 Microsoft-FOIA000001
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            SF26 Comments (Block 15B) Continue Sheet




               IP TRANSFER ISSUE DEVELOPMENT


                     DOCKET NO. N/A


         PERIOD OF PERFORMANCE: 9/12/13 THRU 1/31/2014




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                                                    Section B

SUPPLIES OR SERVICES AND PRICES/COSTS
 Line Item
    No.        Description of Supplies/Services            Qty          U/I   Unit Price             Total




 0001        PHASE 1 - EVALUATION &                             1.00   AJ      342,940.00             342,940.00
             PRESENTATION IN ACCORDANCE
             WITH THE PERFORMANCE WORK
             STATEMENT THAT BEGINS ON PAGE
             FIVE (5) OF THIS ORDER

             I. CONTRACTOR(S) -

             DAVID BOIES

             50 HRS @ $1,250.00 PER HR

             HAMISH HUME

             135 HRS @ $1,080.00 PER HR


             II. ASSOCIATE (S)

             WELLS HARRELL

             120 HRS @ $560.00 PER HR

             JOSH HAFENBRACK

             125 HRS @ $480.00 PER HR


             III. PARALEGAL

             JERREN HOLDIP

             24 HRS @ $310.00 PER HR


             TRAVEL AND MISCELLANEOUS
             EXPENSES FOR THIS PHASE ON LINE
             TWO (2)

             NOTE: The persons listed above should
             not be the only one's invoices who are
             paid. If a person falls into one of the
             hourly rates but is not listed payment
             should be made as long as the COTR has
             signed off on the invoice. The
             category/person outlined under this phase
             has estimated hours only. As long as
             invoices do not go over the total price
             allocated for this phase it should be paid.




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       Accounting and Appropriation Data:

       Fund                     Cost Center             Functional   Material Group     Internal
                                                        Area                            Order

       13130913D                L120000                 7G           1181
                                                                                          $342,940.00
       PR #: L-3-L1-20-E2-X02




0002   TRAVEL AND MISCELLANEOUS                      1.00    LO         7,000.00             7,000.00
       EXPENSES - PHASE ONE (1) :

       PHASE ONE (1):

              TRAVEL: $3,500.00
       MIS. EXPENSES: $3,500.00

       **TRAVEL REIMBUSEMENT SHALL
       BE IN ACCORDANCE WITH THE
       FEDERAL TRAVEL REGULATIONS**

       Accounting and Appropriation Data:

       Fund                     Cost Center             Functional   Material Group     Internal
                                                        Area                            Order

       13130913D                L120000                 7G           1181
                                                                                            $7,000.00
       PR #: L-3-L1-20-E2-X02




0003   EXCESS FUNDING                                1.00    AJ             60.00                  60.00

       Accounting and Appropriation Data:

       Fund                     Cost Center             Functional   Material Group     Internal
                                                        Area                            Order

       13130913D                L120000                 7G           1181
                                                                                               $60.00
       PR #: L-3-L1-20-E2-X02




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                                        SECTION B

B.1 GENERAL

It is the Government’s intention under the terms and conditions of this contract to obtain
professional evaluation, expert consultation and other related expert services for the IRS.
Services to be performed under the terms of this contract are defined in Section C. The terms
and conditions outline is said document are the contractual arrangement between the
Government and Contractor. Performance outside of the scope, and / or above the firm fixed
price for each Phase as well as travel and miscellaneous, shall be provided at the Contractor’s
own risk. This would be considered an unauthorized procurement.

B.2 CONTRACT CEILING PRICE

The total firm fixed price for all Phases plus travel and miscellaneous under this order is
$350,000.00. Total cost are in accordance with the Schedule of Items set forth in Schedule of
Items at the fixed labor-hour rates specified, not to exceed the total amount for any individual
line item. The work for each phase may be funded at time of award, or at the time each option
phase is exercised

B.3 SCHEDULE OF ITEMS

The Contractor shall provide contract services at the fixed hourly rates established under
Schedule of Supplies and Services for each category. In no event shall the Contractor exceed
any contract line item number (CLIN) amount (not-to-exceed (NTE)) without prior written
approval of the Contracting Officer (CO); to do so will be at the Contractor's own risk.

Work in each phase shall be performed and billed on an hourly basis except for authorized travel
expenses which shall be separately authorized and billed. The hourly rate is to be the
Contractor’s complete compensation such that the only additional charges shall be for authorized
travel and miscellaneous expenses. Each phase is governed by its own not to exceed limitation.
Only the Contracting Officer can increase the not to exceed limitation, and each such increase
shall be through a written modification to this contract




NOTE: EXPENSES MUST BE ITEMIZED ON INVOICES, WITH LEGIBLE COPIES
OF RECEIPTS ATTACHED. SEE FAR PART 32.905, PAYMENT DOCUMENTATION
AND PROCESS FOR CONTENTS OF A PROPER INVOICE.




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                                 SECTION C


              PERFORMANCE WORK STATEMENT

INTRODUCTION/ BACKGROUND

    The Internal Revenue Service (the “IRS” or the “Service”) requires the services of a
contractor who is an expert in commercial litigation (the “Contractor”) to assist with the
evaluation, analysis, presentation and defense of claims or adjustments, if any related to the
issues under examination. The services to be rendered under this Contract include but are not
limited to investigation, document review, and research so as to be able to consult with and
provide advice and counsel to the Service. The subject matter of the services required to be
rendered under this Contract include but are not limited to transfer pricing issues relating to the
license of intangible property rights in association with a cost sharing arrangement and related
transactions.

  The Contractor is a law firm and the Key Personnel (including “Contractor 1” and
“Contractor 2,” collectively the “Key Personnel”) are highly skilled commercial litigators with
extensive complex litigation experience evaluating, preparing and presenting cases dealing with
multifaceted facts, complex economics and multiple legal issues. The Key Personnel will
perform the work describe below and will oversee and direct any other personnel of the
Contractor who work on this project. The Key Personnel will verbally report conclusions and
recommendations to the Service, and, if desired by the Service, the Key Personnel will prepare a
written report and cause such a report to be delivered to the Service. If desired by the Service,
the Contractor agrees that the Key Personnel will assist in preparing for and will attend meetings
and presentations.

    The Service is analyzing a set of intercompany transactions (the “Transactions”) between the
taxpayer and its U.S. affiliates (together, the “Taxpayer”) and Taxpayer’s foreign affiliate. As
part of the Transactions, the Taxpayer and its foreign affiliate did the following: (1) effective July
2005, the Taxpayer licensed to its foreign affiliate rights to ‘technology intangibles’ embodied in
certain software products sold by the Taxpayer to third-parties in the Americas geographic
region; (2) the foreign affiliate made a buy-in payment (the “Buy-In Payment”) to compensate
the Taxpayer for the value of the rights that it received and assumed responsibility for funding
future research and development associated with the technology intangibles; and (3) the
Taxpayer and the affiliate established a transfer price (the “Transfer Price”) to determine how to
share revenues that are collected, after licensing of the technology intangibles to the foreign
affiliate, on future sales of the software products in question to third-parties.

   The Service is considering whether the Buy-In Payment and Transfer Price amounts
determined by the Taxpayer reliably and accurately determine the arm’s length transfer prices
between the related entities. Together, the Buy-In and the Transfer Price issues impact two
currently open examination periods, the first examination period for Taxpayer’s fiscal years


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ended June 30, 2004 through June 30, 2006 and the second for Taxpayer’s fiscal years ended
June 30, 2007 through June 30, 2009. To the extent the Taxpayer continues to apply the Transfer
Price proposed after fiscal year ended June 30, 2009, the issue may have continuing relevance, as
well.

SCOPE

   The Contractor shall provide all management, supervision, labor, materials, supplies, and
equipment (unless otherwise stated), and shall plan, schedule, coordinate, and assure effective
performance of all services described herein.

    The Contractor shall provide the services and deliver the outcomes described in Phase 1.
Phase 1 will commence upon award of the Contract or as required by the Government based on
its schedule.

   This Phase for: (1) Evaluation & Presentation is non-severable and will not exceed the period
during which fiscal year funds applied to this contract are available.

    The Contractor is required to furnish all labor and materials associated with the requirements
of the contract except where otherwise specified.

   The Contractor shall be expected to perform travel as necessary to meet the requirements of
the contract. Authorized travel and related expenses shall be reimbursed to the Contractor/Expert
subject to the contract terms outlined herein.

    The Contractor shall obtain written permission from the COR prior to making any “Third
Party” investigative contacts. The Contractor shall provide the COR with details regarding
“Third Party” contacts. The details of the “Third Party” contact shall be provided to the COR in
writing within ten working days after the contact. The COR shall provide guidance as to what
information is required to be reported regarding “Third Party” contacts by the Contractor.

   The Contractor/ shall strictly protect the taxpayer’s rights to privacy by adhering to Federal
“Privacy” and “Non-Disclosure” of taxpayer information regulations

I. PERFORMANCE REQUIREMENTS

   The Contractor is expected to perform according to the terms of this Contract, even if the time
frames are delayed. The Contract is subject to termination and/or Contract payment deduction, if
the performance standards are not met.

   In the event the Contractor is not needed at any point, the Service will terminate services in
accordance with Contract terms and payment will be made for that portion of work performed.

Phase 1 - Evaluation & Presentation

Required Service(s)


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   The Contractor will review all of the key documents (including reports, position papers, key
IDR responses, etc., prepared by or on behalf of the Taxpayer or the Service) and all relevant
legal authorities to build a thorough understanding of the factual and legal issues and the record
to date. This will entail independent research, as appropriate, and attending meetings as
requested by the POC or the COR. At the conclusion of this phase, the Key Personnel will
deliver to the Service an in-person detailed briefing assessing the case based on the existing
record and will give their recommendations. The Key Personnel agree to verbally report
conclusions and findings to the Service. After discussion with the Service, if desired by the
Service, the Contractor will prepare a written summary or report on identified sub-issues and
cause it to be presented or delivered to the Service.

It is anticipated that this phase will consist of but not be limited to the following steps:

           Step 1: The Contractor shall have a preliminary meeting with the Service to obtain a
           clear understanding of the scope of the Contract requirements. The meeting will be
           held in person or by teleconference and is anticipated not to exceed one full day.
           Records identified by the Service as central to the assessment of the Transaction will
           be made available to the Contractor.

           Step 2: Review initial package of documentation and request additional
           documentation. The Contractor will review an initial package of documentation
           provided by the Service. The Contractor will inform the POC if there are additional
           materials that the Contractor believes would be helpful and would like to review
           before completing the preliminary analyses described above and, if available, the
           Service will attempt to secure the requested records. However, it is possible that
           some of the additional materials requested, if any, may not exist or otherwise be
           unobtainable.

           Step 3: As appropriate, subsequent ad hoc meetings or telephone calls will be
           scheduled and held with the Contractor to facilitate the assessment of the Transaction
           and to plan and begin executing follow-up steps that are appropriate to accomplish
           the goals of this phase.

           Step 4: The Key Personnel will present to the Service a detailed in-person verbal
           detailed briefing of the Key Personnel’s findings, assessment, and recommendations
           with respect to the factual and legal state of the case, identifying strengths, weakness,
           and areas for further development. The Service may require the Key Personnel to
           travel. If requested by the Service, the Key Personnel may need to repeat the briefing
           or parts of the briefing via conference calls or via in-person meetings to other Service
           stakeholders.

   Performance Standards:

       x   Demonstrate effective verbal communication and interpersonal team skills.
       x   Timely respond to the Service’s oral or written inquiries.




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       x   Perform independent research and analysis of all relevant legal authorities,
           demonstrating an in-depth understanding of all legal aspects of the case.
       x   Develop and demonstrate an in-depth understanding of the facts and economics of the
           Transaction and relevant aspects of the Taxpayer’s business.
       x   Participate in meetings and conference calls, on an as needed basis, to insure an in-
           depth understanding of the Transaction and related issues.
       x   Deliver the verbal detailed briefing in-person to the Service at the time and place
           requested by the POC (repeating the detailed briefing or a sub-part of the briefing in-
           person or by conference call if requested by POC).
       x   Explain in a clear and professional manner the quality and thoroughness of facts and
           analyses relied on to form the assessment and recommendations presented in the
           detailed briefing.

Desired Outcomes

   The Contractor will perform a thorough initial factual, economic and legal assessment of the
   record and theory of the case. The Key Personnel will present to the Service a detailed
   briefing presenting the Contractor’s assessment of the case and giving the Contractor’s
   recommendations. Required Contract services shall be provided in accordance with the
   Delivery Schedule outlined herein. (See Section F. Delivery Schedule.)

Phase 2 - Miscellaneous Services (Option 1)

Required Service(s)

   To be specified when requested in writing only, via modification to the Contract sent by
Contracting Officer and accepted by the Contractor. Miscellaneous Contractor Services, if any,
will be required on an as-needed basis to provide miscellaneous services as requested by the
Service in writing only, via modification to said order.

   Performance Standards:

       x   Demonstrate effective verbal communication and interpersonal skills.
       x   Responsiveness to Service’s representatives, i.e., timely respond in a professional
           manner to the Service’s oral or written inquiries.
       x   Timeliness of delivery of services and products under the additional requirements of
           the contract;
       x   Additional performance standards may be identified when this option is exercised.
           Specific services and performance standards will be incorporated in the contract
           through written modification to the contract.

Desired Outcomes

   The Outside Contractor/Expert may be required on an as-needed basis to provide these
   miscellaneous services. Miscellaneous Contractor Services will be defined, in writing, via
   modification sent by Contracting Officer and accepted by the Contractor.


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Optional Services

   All work beyond Phase 1 must be authorized in writing by the IRS. It shall be the IRS’s
   option to order these optional phases and sub-phase services. The Service makes no
   guarantee to order any of the optional phases or sub-phases from the Contractor.

   Under no circumstance is the Contractor authorized to proceed with work on any
   optional phase or sub-phase unless specifically authorized to do so in the form of a
   written modification to the Contract by the Contracting Officer.

Monthly Status Report

   The Contractor shall include with the monthly invoices, a written status report to the COR.
   The status report shall, at a minimum, address the following items:

       x   Current target dates and progress for providing deliverable(s),
       x   Any problems or expected problems with delivery of services or products,
       x   Completed items,
       x   Outstanding issues,
       x   Report of direct labor hours expended for the month,
       x   Accounting of project cost by phase:
           x Total amount invoiced and
           x Total amount of delivered but not invoiced services.

   The Contractor shall be required to promptly provide written notification to the COR and the
   POC when his or her efforts have reached:

       x   50% of the awarded amount of Phase 1.

   In no event may the Contractor's services exceed the awarded amount of each phase
   without the prior written authorization of the Contracting Officer.

   Performance Standards:
      x Complete and accurate monthly status reports.
      x Provide notification when the specified percentages of the awarded amounts for each
         phase are reached.
      x Timely deliver the report to the COR.

II. APPLICABLE DEFINITIONS, DIRECTIVES and/or DOCUMENTS

Applicable Definitions, Directives and/or Documents

Definitions

Third Party Contacts Defined


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   Third party notification requirements are defined and explained in § 3417 of the IRS
   Restructuring and Reform Act of 1998 (“RRA98”) and in I.R.C. § 7602(c). The Service shall
   provide additional guidance as needed on a specific case-by-case basis.

Privacy Act Requirements and Definitions

   Privacy Act (5 USC 552a) requirements are described in detail in IRM Part 11, and I.R.C. §§
   6103, 6104, 6110, 7213, 7213A, and 7431. Applicable clauses are incorporated herein. IRMs
   can be accessed at www.irs.gov.

IRS Property and Records Defined

   Government property shall include all government equipment and records and documents,
   including Taxpayer records and documents, provided to the Contractor by the Government or
   by the Taxpayer and shall include all Contractor generated work products and workpapers
   associated with the requirements of this Contract. It is anticipated that the Service may, at its
   option, furnish secure electronic storage media or laptops which will have security software
   for data encryption.

Reference Materials and Purchased Documents

   The Service’s property shall include reference materials, books, documents and supplies
   purchased by the Contractor as necessary for performing the requirements of this Contract if
   the Contractor is reimbursed by the Service for such purchases on an actual cost basis
   documented with copies of receipts for the purchases.

Directives

Contract Administration

   All contacts by the Contractor regarding the administration of technical details within the
   scope of this Contract shall be addressed to the COR for advice and coordination. All
   Contractor contacts with the Service’s audit team and with the Taxpayer shall be coordinated
   through the POC.

   Also see G.1 IR1052-96-019 Authority - Contracting Officer, Contractor Officer’s
   Representative and Contractor's Project Manager.

“Contractor” Is All Inclusive

   The requirements, responsibilities, liabilities and limitations of this Contract shall apply to
   the Contractor, employees of the Contractor, the Key Personnel, and any subcontractors of
   the Contractor.

Third Party Contacts




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   The Contractor will obtain written permission from the POC or COR prior to making any
   “Third Party” investigative contacts related to performance of this Contract. The Contractor
   will provide the COR with details regarding “Third Party” contacts. The details of the “Third
   Party” contact will be provided to the COR in writing within ten working days after the
   contact. The COR will provide guidance as to what information is required to be reported
   regarding “Third Party” contacts by the Contractor.

Materials to Be Relied Upon

   The Contractor will examine publicly available information as well as documents and
   materials obtained by the POC or examination team.

Comply With All Security Policies

   The contractor shall comply with all IRS security and safeguard policies and procedures as
   described in Pub. 4812 – Contractor Security Controls (and in IRM 10.8.1, Information
   Technology (IT) Security, Policy and Guidance if the contractor has access to, and/or uses
   or operates IRS information systems containing IRS information at facilities controlled by
   IRS). This shall include full cooperation with all government security and safeguard related
   requests and activities that are within the scope of these policies and procedures including but
   not necessarily limited to:
       x Post-award conferences,
       x Security self-assessments,
       x Contractor and Contractor employee background investigations (see IRM 1.23.2,
          Security Investigations, Contractor Investigations),
       x Training,
       x On-site security reviews, and
       x Preparing and implementing a “Plan of Action and Milestones” (POA&M) to
          adequately mitigate or otherwise address unacceptable risks identified by the
          Government.

   Controls shall adequately address physical, environmental and personnel security at the
   “moderate” level of risk per guidance provided in the National Institute of Standards &
   Technology (NIST) Publication 800-53, Recommended Security Controls for Federal
   Information Systems & Organizations, Version 3 which can be found at
   http://csrc.nist.gov/publications/PubsSPs.html and per requirements described in IRM Part
   10 – Security, Privacy and Assurance and IRM 1.16, Physical Security Program. Copies of
   the Service’s IRMs can be found on the internet at www.irs.gov.

Basic Security and Safeguard Concepts
   The following basic concepts are applicable under the terms of this Contract, however it
   should be understood that this is not an all-inclusive listing of requirements that may apply.

   The Contractor shall implement management, operational and technical controls to
   incorporate the following security and safeguard concepts in his/her business operations:
       x ID Media/Card Keys/Keys


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      x   Document Security
      x   Incident Reporting
      x   Security Awareness

   Guidance is provided in Pub. 4812 – Contractor Security Controls (and in IRM 10.8.1,
   Information Technology (IT) Security, Policy and Guidance if the contractor has access to,
   and/or uses or operates IRS information systems containing IRS information at facilities
   controlled by IRS).

   A copy of Pub. 4812 – Contractor Security Controls can be found on www.irs.gov by
   performing a search on “Procurement”.

   A copy of IRM 10.8.1, Information Technology (IT) Security, Policy and Guidance can be
   found on www.irs.gov by performing a search on “Internal Revenue Manual” followed by
   clicking on the Internal Revenue Manual link and then clicking on the “Part 10 – Security,
   Privacy and Assurance” link.

Contractor Background Investigations

   The Service requires all persons with access to Taxpayer information to pass a background
   investigation. The investigation requires the individuals to provide significant information to
   the investigation team. It will also require each person to provide a set of fingerprints. This
   activity requires several hours of effort for each individual and this time is not chargeable to
   the Contract.

   Unless other arrangements are made with the COR, the Contractor must complete and return
   the background investigation paperwork data to Contractor Security Management (CSM)
   within 5 calendar days of Contract award.

   The Contractor personnel must receive either “interim approval” or a “final decision” for
   staff-like access before being provided with unescorted access to sensitive information.

Contractor Training Requirements

   Key Personnel and the Contractor’s employees and, if applicable, sub-contractors shall be
   required to complete “Security” awareness training to be provided by the Service prior to
   being granted unescorted access to sensitive information.

   Contractor personnel performing technical security roles requiring specialized training shall
   receive a minimum of twelve (12) hours of continuing professional education annually at the
   cost of the Contractor.

   Contractor personnel performing non-technical security responsibilities requiring specialized
   training shall receive a minimum of eight (8) hours of continuing professional education
   annually at the cost of the Contractor.




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Contractor Security Self-Assessment

   The Service may, at its option, require the Contractor to perform a security self-assessment
   prior to being granted unescorted access to sensitive information. If requested, the security
   self-assessment must be completed and returned to the Contracting Officer’s Representative
   (COR) within two weeks of the date of award of the Contract.

   Example of a security self-assessment checksheet will be provided if required.

Meetings

   Meetings involving the Contractor called or scheduled by the POC or COR and may be in the
   nature of conference telephone calls or on-site, face-to-face meetings, at the election of the
   POC or COR. The POC or COR shall provide reasonable advance notification to the
   Contractor regarding the location and expected duration of meetings, conference calls, etc.

Records, Reports and Workpaper Maintenance and Organization

   Records, Reports and Workpapers shall be maintained and organized in accordance with the
   requirements set forth in IRM 4.46.6, LB&I Guide for Quality Examinations, Workpapers
   and Reports Resources. IRMs may be accessed at www.irs.gov.
Return of Service Property

   All property of the Service in the possession of the Contractor in direct relation to the
   requirements of this Contract shall be returned to the Service prior to final payment for
   services rendered by the Contractor.

Documents

Quality Assurance Surveillance Plan (QASP)

   A QASP may be utilized by the Service and sets forth guidelines that may be used in
   evaluating the technical performance of the Contractor. The procedures set forth in the QASP
   are not contractually binding on the Service or on the Contractor. The Contractor will be
   provided a copy of the QASP for informational purposes only – SECTION F

Surveillance Activity Checklist

   A “Surveillance Activity Checklist” may be used by the COR/Evaluator to document
   Contractor’s performance – See Section J, Exhibit 1

Decision Table

   A “Decision Table” may be used by the COR/Evaluator in documenting symptoms and in
   identifying possible sources of performance problems as well as assisting in the
   determination of contributing factors – See Section J, Exhibit 2



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Performance Requirements Summary Table (PRST)

   A PRST may be utilized by the Government and describes to the Contractor how the Service
   will monitor the Contractor’s performance. The weights found in the table represent the
   maximum of the contract value that the Government can deduct for nonperformance or
   unsatisfactory performance of a service requirement. The Government has the unilateral
   right to change the Method of Inspection found in the table without notice to the Contractor –
   See Section J, Exhibit 3

Abbreviations and Acronyms

               AQL = Acceptable Quality Level
                CFR =  Code of Federal Regulations
                 CO = Contracting Officer
               COR = Contract Officer’s Representative
               CSM = (IRS) Contractor Security Management (Formerly CSLP)
              CSLP = Contractor Security Lifecycle Program (Currently CSM)
                FAR =  Federal Acquisition Regulations
               FIPS =  Federal Information Processing Standard
             FISMA = Federal Information Security Management Act
               GSA = General Services Administration
                  IP = Intellectual Property
                  IT = Information Technology
              I.R.C. = Internal Revenue Code
                IRM = Internal Revenue Manual
      IRS or Service = Internal Revenue Service
              LB&I =   Large Business and International Division of the IRS
               NIST =  National Institute of Standards and Technology
              NBIC = National Background Investigation Center
                POC =  Point of Contact
              PRST = Performance Requirements Summary Table
               PWS = Performance-based work statement
              QASP = Quality Assurance Surveillance Plan
                SBU = Sensitive but unclassified
             RRA98 = Revenue Reform Act of 1998
                 TC = Team Coordinator
                USC = United States Code (also U.S.C.)
III. Method of Payment

Evaluation of Services

   The Contractor's services will be evaluated by the Internal Revenue Service upon completion
   of all services directed by the Service under this Contract.




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Holdback Provision:

  For purposes of FAR 52.232-7(a)(2), the amount withheld shall be 0% of the amount due.

IV. General Provisions:

Disclosure Prohibitions

   The Contractor may, to the extent authorized by the Internal Revenue Code (I.R.C.) for tax
   administration purposes, and as necessary for the performance of his or her duties under this
   Contract, be given access to confidential tax returns and return information, as those terms
   are defined in I.R.C. § 6103(b)(1) and (2), respectively. Unauthorized disclosures of tax
   returns or return information may subject the Contractor to personal liability for civil
   damages under I.R.C. § 7431(a)(2), criminal prosecution, under I.R.C. § 7213, or both.

Limited Authority of the Contractor

   The Contractor shall not have the authority to perform inherently governmental functions as
   described in OFPP Policy Letter 11-01 including but not necessarily limited to any
   government policy-making, decision-making, portraying Key Personnel as a representative
   of the government or performing governmental managerial responsibilities.
   (http://www.whitehouse.gov/omb/procurement_index_work_performance/)

   Also see G.1 IR1052-96-019 Authority - Contracting Officer, Contractor Officer’s
   Representative And Contractor's Project Manager.

Relationship with Office of Chief Counsel for the IRS

   It is clearly understood that the Office of Chief Counsel for the Internal Revenue Service, the
   attorneys assigned to this matter, are the representatives of the Service and are not the legal
   representative of the Contractor and cannot provide legal advice to the Contractor.




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                                          SECTION D


D.1 Packaging

All contract deliverables shall be delivered in accordance with the Contractor’s best commercial
practices unless otherwise expressly stated in Section F.

D.2 Markings

All contract deliverables submitted to the IRS shall clearly indicate the following on the
deliverable or in a cover letter to the deliverable:

A. Contract Number for which the information is being submitted;
B. Complete delivery address including the organization’s name;
C. Point of Contact; and
D. Other data or identification number as applicable (phone number, etc.).

D.3 Postage and Fees

All submittals and/or deliverables, including forms, reports, etc., shall be shipped on a “postage
paid” basis and not by COD (cash on delivery).

D.4 Method and Point of Delivery

                                        Mailing Instructions

Documents and media shall be transmitted by a traceable and receipted manner. It shall be
double wrapped with the outer wrapper addressed to the recipient and marked "DO NOT
FORWARD - IF UNDELIVERABLE TO ADDRESSEE, RETURN TO SENDER" and "TO BE
OPENED BY ADDRESSEE ONLY". The inner wrapper shall be addressed to an individual and
marked with the "TO BE OPENED BY ADDRESSEE ONLY". The package shall to be securely
wrapped to avoid breakage.

The COR’s name and express package delivery address are provided below:

Internal Revenue Service
Attn: Tim Tuey
450 Golden Gate Avenue, MS-6107
San Francisco, CA 94102-3661

Phone: (b)(6); (b)(7)(C) Email: (b)(6); (b)(7)(C)


The POC’s name and express package delivery address are provided below:


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Internal Revenue Service
Attn: Eli Hoory
SE:LB:IN:TPO: M3-370
801 9th Street, NW
Washington, DC 20001

Phone: (b)(6); (b)(7)(C)   Email: (b)(6); (b)(7)(C)

D.5 Media Type for Reports and Deliverables                                      (

    Drafts of spreadsheets, charts, reports, or other submissions, if any, prepared by the
    Contractor shall be prepared by the Contractor following the procedures and in the format(s)
    specified by the POC (format options to include, as selected by the POC, either electronic file
    format specified by the POC or hardcopy format or both).

    Hardcopy deliverables, unless otherwise requested by the POC, shall, be printed in
    permanent, laser quality black letter printing using Arial font in size 12 point print. Paper
    used in the report shall be white 20 lb. to 25 lb. “weight” with a minimum “brightness” of 90.
    Copies of all reports shall be professionally bound. Colored print and colored exhibits may
    be utilized for enhancement and/or to provide emphasis as deemed professionally
    appropriate.

D.6 Digital Media – FIPS 140-2 Encryption Required

    All deliverables provided in a digital format shall be encrypted in accordance with Federal
    Information Processing Standard (FIPS) 140-2.




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SECTION E – INSPECTION AND ACCEPTANCE

E.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998)

This contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the CO will make their full text available. Also, the
full text of a clause may be accessed electronically at this/these address(es):
https://www.acquisition.gov/far

NUMBER         TITLE                                                       DATE

52.246-6       INSPECTION—TIME-AND-MATERIAL AND LABOR- (MAY 2001)
               HOUR




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                                        SECTION F

F.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998)
This contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the CO will make their full text available. Also, the
full text of a clause may be accessed electronically at this/these address(es):
https://www.acquisition.gov/far

NUMBER         TITLE                                                        DATE

52.242-15      STOP-WORK ORDER                                             (AUG 1989)
52.242-17      GOVERNMENT DELAY OF WORK                                    (APR 1984)

                                          (End of clause)
F.2 Quality Assurance

   The Service will monitor the performance of the Contractor through discussions with the
   Contractor, review of required reports, and direct observation of the Contractor’s
   performance. The Service will assess the performance of the Contractor in accordance with
   the performance standards set forth in this work statement. The Contractor must meet the
   work requirements set out below in Section C.3 – Performance Requirements for each phase
   before final payment is made for that phase.


       QUALITY ASSURANCE SURVEILLANCE PLAN (QASP)

Introduction

   This Quality Assurance Surveillance Plan has been developed pursuant to the requirements
   of the Performance Work Statement associated with this Contract. The QASP sets forth
   guidelines that will be used in evaluating the technical performance of the Contractor 1, Mr.
   Boies, and Contractor 2, Mr. Hume. The procedures set forth in the QASP are not
   contractually binding on the IRS or on the Contractor. The Contractor shall be provided a
   copy of the QASP for informational purposes.

Roles and Responsibilities of Service Officials

   The following Service officials will participate in assessing the quality of the Contractor’s
   performance. Their roles and responsibilities are described as follows:

   1. The Contracting Officer’s Representative (COR) is Tim Tuey.

   2. The IRS person assigned primary responsibility for and assigned to be the Contractor’s
      Point-of-Contact (POC) under this Contract for the subject issue is Eli Hoory.



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   3. The POC and COR will be responsible for reviewing, observing, assessing, and reporting
      the technical performance of the Contractor. All liaisons between the POC and AWSS
      Procurement shall be coordinated with the COR.

   4. Cheryl Richardson will serve as the Contracting Officer (CO) and will have overall
      responsibility for overseeing the Contractor’s performance in the areas of contract
      compliance, contract administration, cost control, reviewing the POC and/or COR
      assessment of the Contractor’s performance, and resolving all differences between the
      POC and/or COR version and the Contractor’s version.

Primary Methods of Surveillance

       x   100 Percent Inspection
       x   Validated Customer Complaints

Acceptable Quality Level (AQL)

   The AQL for all services and deliverables is 100%. The Contractor either is or is not in
   compliance with the specification.

Population (Lot size): Not applicable

Level of Surveillance: Not applicable

Sampling procedures: Each work requirement will be evaluated when provided.

Evaluation Procedures:

The Service will monitor the performance of the Contractor through direct, documented
observations of the Contractor’s performance, where appropriate; through discussions with the
Contractor; and through review of reports and other documents required by the contract.

The POC and/or COR may utilize “Surveillance Activity Checklists” (See Section J, Exhibit 1)
to document the Contractor’s performance as services and deliverables are provided. Any
complaints received will be documented and validated.

Analysis of Results of Performance Surveillance

   a. The POC and/or COR will assess work performance in accordance with the performance
      standards set forth in the Performance Work Statement (PWS) and the surveillance
      methods described herein and maintain a written record of the assessment as services and
      deliverables are provided.

   b. Recommended payment reductions will be taken in accordance with the contract terms
      for all documented defects and will be calculated as required.




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   c. The POC and/or COR will monitor the Contractor’s overall performance and recommend
      appropriate administrative actions to the Contracting Officer when performance is less
      than satisfactory.

F.3 Period of Performance

The period of performance of this Contract begins on the execution date of this Contract and,
absent extension via modification sent by Contracting Officer and accepted by the Contractor,
expires in accordance with this Contract on 1/31/2014.

F.4. Contract Term

  The contract term shall cover the furnishing of the supplies and services described in the
Schedule, from the date of award for an estimated term of 5 months

F.5 Deliverables

Deliverables include the following:

       x   In-person preliminary meeting at start of Phase 1.
       x   Weekly status reports via conference calls to discuss progress and address open issues
           that may arise (default weekly period may be extended by POC or COR).
       x   Meeting with Contractor 2 to discuss analysis to date.
       x   In-person verbal detailed briefing by Key Personnel of their analysis, conclusions and
           recommendations to the Service and, if requested by Client, written report(s).
       x   If requested by the Service, repeat of detailed briefing or of parts of the detailed
           briefing by Key Personnel via conference calls or via in-person meetings to other
           Service stakeholders

Method and Point of Delivery

The Contractor shall present all written deliverables to the POC or COR (as instructed) using the
delivery option specified by the POC or COR, the Service’s choice of delivery options to
include, but not be limited by, the following: (i) certified or registered overnight mail, (ii) other
reputable and traceable express overnight delivery service, (iii) secure electronic means specified
by the POC or the Case Manager, (iv) hand delivery, or (iv) a combination of the foregoing
delivery methods.

All deliverables shall be packaged and sent in accordance with instructions provided in Section
D – Packaging and Markings unless otherwise directed by the COR.

Delivery Schedule

   Delivery time in the schedule below is based upon calendar days unless otherwise specified.




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Period of Performance                              Award Date through End of Contract
                   ITEM                                      DELIVERY TIME
                                             Phase 1:
a. Preliminary Meeting                            a. Within 5 days after Contractor 2 receives
                                                     interim access from the National
                                                     Background Investigation Center unless
                                                     otherwise agreed by POC and COR.
b. Additional meetings or conference calls        b. As mutually agreed upon between POC and
   with the Service                                  Contractor.

c. Meeting to Discuss Analysis To-Date           c. As mutually agreed upon between POC and
                                                    Contractor, but not later than October 11,
                                                    2013 unless otherwise agreed by POC and
                                                    COR.
d. Detailed Briefing by Key Personnel (Initial d. As mutually agreed upon between POC and
   Presentation)                                    Contractor, but not later than November 8,
                                                    2013 unless otherwise agreed by POC and
                                                    COR.
e. Detailed Briefing by Key Personnel (Repeat e. As mutually agreed upon between POC and
   Briefings if requested by Service)               Contractor.
f. Phase 1 Completion Date                       f. As mutually agreed upon between POC,
                                                    COR and Contractor, but no later than
                                                    January 31, 2014.
                                       Phase 2 (Option 1):
As mutually agreed upon in writing by               As mutually agreed upon in writing by
modification, if any, sent by Contacting            modification, if any, sent by Contacting
Officer and accepted by Contractor.                 Officer and accepted by Contractor.

   Period of Performance                            January 31, 2014

   Monthly Status Report                            On the 10th of each month

   Resubmission of contract deliverable             As mutually agreed between
   due to error, omission, or deficiency            COR and Contractor not to
                                                    exceed 10 days after notification
                                                    of unacceptable deliverable, unless the COR
                                                    agrees to additional time is agreed to in
                                                    writing.




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                                           SECTION G
G.1 DTAR 1052.201-70 CONTRACTING OFFICERS TECHNICAL
REPRESENTATIVE (COTR) APPOINTMENT AND AUTHORITY (APR 2004)

 (a) The Contracting Officer’s technical representative is

 Internal Revenue Service, Large Business and Int'l-Lb&I, Deputy Comm (Domestic),
 Natural Resources & Construct, Director Engineering, Terr 11 Engineers-San Fran, 450
 Golden Gate Ave, 450 Golden Gate Ave, CA 94102-3661.
                                     (b)(6); (b)(7)(C)
 Prime COTR : Mr. Tim Tuey @

 (b) Performance of work under this contract shall be subject to the technical direction of the
 COTR identified above, or a representative designated in writing. The term "technical
 direction" includes, without limitation, direction to the Contractor that directs or redirects the
 labor effort, shifts the work between work areas or locations, fills in details and otherwise
 serves to ensure that tasks outlined in the work statement are accomplished satisfactorily.

 (c) Technical direction must be within the scope of the specification(s)/work statement. The
 COTR does not have authority to issue technical direction that:

 (1) constitutes a change of assignment or additional work outside the specification(s)/work
 statement;
 (2) constitutes a change as defined in the clause entitled "Changes";
 (3) in any manner causes an increase in the contract price, or the time required for contract
 performance;
 (4) changes any of the terms, conditions, or specification(s)/work statement of the contract;
 (5) interferes with the Contractor’s right to perform under the terms and conditions of the
 contract; or,
 (6) directs, supervises or otherwise controls the actions of the contractor’s employees.

 (d) Technical direction may be oral or in writing. The COTR shall confirm oral direction in
 writing within five work days, with a copy to the contracting officer.

 (e) The Contractor shall proceed promptly with performance resulting from the technical
 direction issued by the COTR. If, in the opinion of the Contractor, any direction of the
 COTR, or his/her designee, falls within the limitations in (c), above, the Contractor shall
 immediately notify the contracting officer no later than the beginning of the next Government
 work day.

 (f) Failure of the Contractor and the contracting officer to agree that technical direction is
 within the scope of the contract shall be subject to the terms of the clause entitled "Disputes."

G.2. CONTRACTING OFFICER
The CO for administration of this contract is:


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Internal Revenue Service, Office of Business Operations, Area Field Procurement
Operations - Northeast, Attn: Cheryl Richardson, 290 Broadway - 3rd floor, New York, NY
10007- 1867

The telephone number for the Contracting Officer is: (b)(6); (b)(7)(C)

The CO, in accordance with Subpart 1.6 of the Federal Acquisition Regulation, is the only person
authorized to make or approve any changes in any of the requirements of this contract, and
notwithstanding any clauses contained elsewhere in this contract. The said authority remains
solely with the CO. In the event the Contractor makes any changes at the direction of any person
other than the CO, the change will be considered to have been made without authority and no
adjustment will be made in the contract price to cover any increase in cost incurred as a result
thereof.

G.2.1 CONTRACTOR’S PROJECT MANAGER

A. The Contractor’s Project Manager(s) assigned to this project is (are):

Name:                 Hamish Hume

Address:              5301 Wisconsin Avenue, NW
                      Washington D.C. 20015

Email:                hhume@bsfllp.com

Telephone No.:        202 274 1149


G.2.3 CONTRACTOR’S KEY PERSONNEL

(“Key Personnel” and “Contractor’s Project Manager” are often not the same person. The Key
Personnel, below should also be in Section B. under line items)

NAME OF KEY PERSONNEL:

(1) Contractor 1: David Boies; Contractor 2: Hamish Hume
(2) Associate 1: Wells Harrell; Associate 2: Josh Hafenbrack
(3) Paralegal : Jerren Holdip

B. The individuals named above is/are proposed to work on this project or case and is/are the
Key Personnel assigned under this contract. This/these individual(s) are considered essential to
the work being performed under this contract. If this individual(s) leaves the Contractor's
employment or is reassigned to other programs, the Contractor shall notify the CO or COTR
reasonably in advance and shall submit justification (including proposed substitutions) in
sufficient detail to permit evaluation of the impact on the program. No diversion or replacement
shall be made by the Contractor without the written consent of the CO.



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C. Changes or substitutions in the Key Personnel assigned and/or to the technical work
statement and any accepted technical proposal is prohibited, unless prior written approval from
the CO is obtained. Failure to comply with this requirement will result in nonpayment for
services that are provided by the unauthorized key personnel or that are the result of technical
changes.

G.3 INVOICES

G.3.1 INVOICING PROCEDURES

A. To ensure prompt payment of invoices and to assist the Government in accounting for
services provided by the Contractor, the Contractor shall provide a proper invoice every month
during the term of this Contract; whether or not work is performed in such month. The invoice
shall reflect all work performed during the month the invoice is submitted except for work
performed after submittal of the invoice, which work shall be reflected on the invoice submitted
the following month. A proper invoice at a minimum shall contain the elements prescribed in the
clause at 52.232-25 PROMPT PAYMENT, Alternate 1 (see Section I Clauses Incorporated by
Reference, of this contract). A redacted portion of that clause, setting forth required elements of
a proper invoice is provided below:

(i) Name and address of the Contractor.
(ii) Invoice date and invoice number. (The Contractor should date invoices as close as possible to
the date of the mailing or transmission.)
(iii) Contract or purchase order number, including contract line item number.
(iv) Name and address of Contractor official to whom payment is to be sent (must be the same as
that in the contract or in a proper notice of assignment).
(v) Name (where practicable), title, phone number, email, fax number and mailing address of
person to notify in the event of a defective invoice.
(vi) Taxpayer Identification Number (TIN). The Contractor shall include its TIN on the invoice
only if required elsewhere in this contract.
(ix) Electronic funds transfer (EFT) banking information.

B. Proper invoice requirement includes also: description, quantity, unit of measure, unit price
and extended price of supplies delivered or services performed.

Basically the invoice should be a replica of the purchase/contract order received for performance.

An invoice that includes undelivered supplies or unperformed services will be considered
improper. The Prompt Payment Act requires all improper invoices be returned to vendor unpaid.
Invoices returned for undelivered supplies and /or unperformed services may be resubmitted if
one of the following conditions is met.

   1. All supplies referenced have been delivered and /or all relevant services been performed.
   2. The invoice has been changed to reflect only delivered supplies and/or performed
      services




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G.3.1 1052.232-7003: Electronic Invoicing and Payment Requirements for the Invoice
Processing Platform (IPP)                                              (Aug 2012)

The U.S. Department of the Treasury, Financial Managements Internet Payment Platform (IPP)
is a government-wide electronic payment information service that replaces the Payment Advice
Internet Delivery (PAID) system. IPP allows vendors to receive their remittance information
from their financial institution. Effective October 31, 2008, IPP replaced the PAID system.
Former PAID users have been automatically migrated to IPP and need to complete the initial
provisioning process from the new user ID, temporary password, and web address sent by
Treasury. This is necessary in order to log in to the IPP and view or download payment
information. New vendors may register on-line at https://ipp.gov. For additional information,
refer to the IPP Customer Support at (866) 973-3131.

The IPP will continue to support the following notification services previously offered by PAID:
Web access only to remittance data, no payment notification emails sent, payment notification
without remittance detail, and payment notification with remittance detail. Users may select
event-driven notifications and schedule the frequency. Vendors can only access their own
payment data. IPP remittance information includes the following data: ACH trace number,
supplier name, agency name, payment status, issue date, invoice number, PO number, invoice
amount, discount amount, payment amount, bank name, and bank address. The IPP will collect
payment data for 18 months, which will be available for search, display and download. Payment
information will be uploaded to the IPP daily from Treasury systems on the date of payment.

                                            (End of Clause)

IR1052.232-7003 Electronic Invoicing and Payment Requirements for the Invoice
Processing Platform (IPP) (AUG 2012):

Include in: (a) all solicitations, contracts, blanket purchase agreements (excluding “N” type
BPAs), task orders, delivery orders, and purchase orders issued or awarded on or after October 1,
2012; (b) all solicitations (for other than indefinite delivery contracts) released in Fiscal Year
2012 in which the initial or base period of performance in the resulting contract, agreement, or
order will have an effective date on or after October 1, 2012; and (c) all existing indefinite
delivery contracts where either task orders or delivery orders will be issued or awarded with an
effective date on or after October 1, 2012. This clause also includes a waiver form that should be
utilized in certain circumstances as described in paragraph (f) of this clause.

ELECTRONIC INVOICING AND PAYMENT REQUIREMENTS FOR THE
INVOICE PROCESSING PLATFORM (IPP) (AUG 2012)

(a) Definitions:

"Short payment" as used in this clause means an invoice that includes the cost or price for
supplies or services delivered or performed, as well as the cost or price for supplies or services
not yet tendered to the Government in accordance with the terms of the contract, order or
agreement.



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“Short payment” example: The contract requires the delivery of a set number of items, with the
price, delivery location, and delivery due date also specified. The vendor delivers 50% of the
items as specified but invoices for 100% of the items. Before implementation of the IPP, the IRS
would have paid the vendor for the items delivered and instructed the vendor to re-invoice the
IRS when the balances of the items were delivered. In other words, the IRS would "short pay"
the invoice since the IRS did not remit payment for the full invoice amount. With
implementation of the IPP, the IRS can no longer do this because the IRS cannot accept an
electronic invoice that includes items not yet received. The IRS will reject the invoice. The
vendor needs to submit an invoice for only the items received by the IRS (in this case, 50%),
and, assuming that these items meet all other contract terms and conditions, the IRS will pay the
invoiced amount. The vendor submits subsequent invoice(s) for items as they are delivered and
accepted.

(b) The Invoice Processing Platform (IPP) is a secure Web-based electronic invoicing and
payment information service available to all Federal agencies and their suppliers. Effective
October 1, 2012, invoicing for payment through the IPP will be mandatory for all new contract
awards. Additional information regarding the IPP may be found at the IPP website address
https://www.ipp.gov. Contractors must complete the contractor point of contact information
below, and submit it with their proposal submissions. Contractors may contact the IPP Helpdesk
for assistance via e-mail at ippgroup@bos.frb.org or via phone at (866) 973-3131. Once a
contract award has been made, the contractor will be contacted by the IPP via e-mail to set-up an
account. It will be necessary for contractors to login to their IPP accounts every 90 days to keep
their IPP accounts active.

(c) Contractor Point of Contact Information
Contractor Name:

Contractor IPP Point of Contact Name:       Mr. Gregory Shaw

Contractor Phone Number: 914-749-8365
Contractor E-mail Address: gshaw@bsfllp.com

(d) Electronic Invoicing and Payment Requirements

Vendor invoices submitted electronically through the IPP should be in the proper format and
contain the information required for payment processing. In order to be approved for payment, a
“proper invoice” must list the items specified in FAR 52.232-25 (a)(3)(i) through (a)(3)(x), or in
the case of a Commercial Item Contract, the items included in 52.212-4(g)(1)(i) through
(g)(1)(x). – See G3.1 above

Under this contract, the following documents are required to be submitted as an attachment to the
invoice (Any Expenditures above the threshold requirement)):
(e) Payment and Invoice Questions

For payment and invoice questions, contact the Beckley Finance Center at (304) 254-3372 or via
e-mail at cfo.bfc.ipp.customer.support@irs.gov.



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(f) Waiver

If the Contractor is unable to use the IPP for submitting payment requests starting on October 1,
2012, then a waiver form must be completed and submitted with the contractor’s proposal
submission for review and approval by the Contracting Officer based on one of the conditions
listed in the waiver form included as Attachment 1 to this clause. The vendor will be notified
prior to award as to whether their request for waiver has been approved or denied. If the waiver
is granted, then a copy of the waiver must be submitted with each paper invoice that the vendor
submits to the payment office or the invoice will be returned.

(g) Short Payment

Short payment on vendor submitted invoices will no longer be processed or paid. If any portion
of the invoice does not meet the requirements for a proper invoice, the entire invoice shall be
rejected and returned to the vendor unpaid.

                                  (End of Clause)

The Contractor’s proper invoice shall also be submitted as follows:

One copy shall be submitted to the COTR for receipt and acceptance purposes. (see Section
G.1(a) respectively).

INFORMATION COPY OF INVOICES

For informational purposes, a copy of each invoice shall be sent to the IRS CO: (see Section G.2)

G.3.2 PAYMENT INQUIRIES

These inquiries should be directed to the designated IRS COTR. (see Section G.1, above).

G.3.3 FINAL INVOICE REQUIREMENT

A. As stated above, the period of performance of this Contract begins on the execution date of
this Contract and expires as specified in Section F.3, above. Prior to the expiration of the
Contract, the Contractor will be notified in writing by the CO of the date the Contractor’s
services will no longer be required. The Contractor shall then submit the final invoice for
previously unbilled, costs and expenses incurred through the date specified in the notification.

B. The final invoice shall be submitted within 10 days from receipt date of notification unless
another reasonable due date is agreed to between the Contractor and the CO.

C. The Contractor shall mark the last invoice submitted under the Order as "FINAL INVOICE".




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G.3.4 DISPUTED/IMPROPER/UNAPPROVED INVOICES

Any disputed, improper, and/or unapproved invoice(s) will be returned, with a written
explanation from the COTR or Technician at the Paying Office, to the Contractor.




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                                           SECTION H

H.1 IR1052.204-9001 IDENTIFICATION/BADGING REQUIREMENTS (MARCH 1998)

During the period of this contract, access to IRS facilities for Contractor representatives shall
be granted as deemed necessary by the Government. All Contractor employees whose duties
under this contract require their presence at any Treasury, or Treasury bureau, facility shall be
clearly identifiable by a distinctive badge furnished by the Government. In addition,
corporate identification badges shall be worn on the outer garment at all times. It is the sole
responsibility of the Contractor to provide this corporate identification. Upon the termination
of the employment of any Contractor personnel working on this contract, all Government
furnished identification shall be returned to the issuing office. All on-site Contractor
personnel shall abide by security regulations applicable to that site.

[End of clause]

H.2 IR1052.224-9000(a) Disclosure of Information-Safeguards (JANUARY 1998)

In performance of this contract, the Contractor agrees to comply and assume responsibility
for compliance by his/her employees with the following requirements:

(1) All work shall be performed under the supervision of the Contractor or the Contractor's
responsible employees.

(2) Any return or return information made available shall be used only for the purpose of
carrying out the provisions of this contract. Information contained in such material shall be
treated as confidential and shall not be divulged or made known in any manner to any person
except as may be necessary in the performance of the contract. Inspection by or disclosure to
anyone other than an officer or employee of the Contractor shall require prior written
approval of the Internal Revenue Service. Requests to make such inspections or disclosures
should be addressed to the IRS Contracting Officer.

(3) Should a person (Contractor or subcontractor) or one of his/her employees make any
unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
Default clause (FAR 52.249-8), incorporated herein by reference, may be invoked, and the
person (Contractor or subcontractor) will be considered to be in breach of this contract.

[End of Clause]

H.3 IR1052.224-9000(b) Disclosure of Information--Safeguards (JANUARY 1998)

In performing the services described herein, the Contractor agrees to comply and assume
responsibility for compliance by his/her employees with the following requirements:

(1) The films or photo impressions and reproductions made there from shall be used only for


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the purpose of carrying out the provisions of this contract and information contained in such
material shall be treated as confidential and shall not be divulged or made known in any
manner to any person except as may be necessary in the performance of the contract.
(2) All the services shall be performed under the supervision of the Contractor or his/her
responsible employees.

(3) All material received for processing and all processed and reproduced material shall be
kept in a locked fireproof compartment in a secure place when not being worked upon.

(4) All spoilage of reproductions made from the film or photo impressions supplied to the
Contractor shall be destroyed and a written statement under the penalties of perjury shall be
submitted to the Contracting Officer that such destruction has been accomplished.

(5) All film, photo impressions, and reproductions made there from shall be submitted to the
Internal Revenue Service by personal delivery, express mail, first-class mail, parcel post, or
bonded carrier.

(6) Inspection by or disclosure to anyone other than an officer or employee of the Contractor
shall require prior written approval of the Internal Revenue Service. Requests to make such
inspection or disclosure shall be addressed to the Contracting Officer.

(7) Should the Contractor or one of his/her employees make any unauthorized inspection(s)
or disclosure(s) of confidential tax information, the terms of the Default clause (FAR-52.249-
8), incorporated herein by reference, may be invoked, and the Contractor will be considered
to be in breach of this contract.

[End of Clause]

H.4 IR1052.224-9000(c) Disclosure of Information--Safeguards (NOVEMBER 2005)

In performance of this contract, the Contractor agrees to comply with and assume
responsibility for compliance by his/her employees with the following requirements:

(1) All work shall be performed under the supervision of the Contractor or the Contractor's
responsible employees.

(2) Any return or return information made available in any format shall be used only for the
purpose of carrying out the provisions of this contract. Information contained in such material
shall be treated as confidential and shall not be divulged or made known in any manner to any
person except as may be necessary in the performance of the contract. Inspection by or
disclosure to anyone other than an officer or employee of the Contractor shall require prior
written approval of the Internal Revenue Service. Requests to make such inspections or
disclosures should be addressed to the IRS Contracting Officer.

(3) All returns and return information will be accounted for upon receipt and properly stored
before, during, and after processing. In addition, all related output shall be given the same



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 level of protection as required for the source material.

 (4) The Contractor certifies that the data processed during the performance of this contract
 shall be completely purged from all data storage components of his/her computer facility and
 no output will be retained by the Contractor at the time the IRS work is completed. If
 immediate purging of all data storage components is not possible, the Contractor certifies that
 any IRS data remaining in any storage component will be safeguarded to prevent
 unauthorized inspection or disclosure.

 (5) Any spoilage or any intermediate hard copy printout which may result during the
 processing of IRS data shall be given to the IRS Contracting Officer or his/her designee.
 When this is not possible, the Contractor will be responsible for the destruction of the
 spoilage or any intermediate hard copy printouts and shall provide the IRS Contracting
 Officer or his/her designee with a statement containing the date of destruction, description of
 material destroyed, and the method used.

 (6) No work involving information furnished under this contract will be subcontracted
 without the specific approval of the IRS Contracting Officer.

 (7) All computer systems, processing, storing and transmitting tax data must meet or exceed
 Controlled Access Protections (CAP) wherein the operating security features of the system
 have the following minimum requirements: (a) an approved security policy; (b)
 accountability; (c) assurance; and (d) documentation.

 (8) Should a person (Contractor or subcontractor) or one of his/her employees make any
 unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
 Default clause (FAR 52.249-8), incorporated herein by reference, may be invoked, and the
 person (Contractor or subcontractor) will be considered to be in breach of this contract.

 (9) [Include any additional safeguards that may be appropriate.]

                                         [End of Clause]

H.5 IR1052.224-9000(d) Disclosure of "Official Use Only" Information Safeguards
(MARCH 2008)

 Any Treasury Department Information made available or to which access is provided, and
 which is marked or should be marked "Official Use Only", shall be used only for the purpose
 of carrying out the provisions of this contract and shall not be divulged or made known in any
 manner to any person except as may be necessary in the performance of the contract.
 Disclosure to anyone other than an officer or employee of the Contractor or subcontractor at
 any tier shall require prior written approval of the IRS. Requests to make such disclosure
 should be addressed to the IRS Contracting Officer.

                                    [End of Clause]




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H.6 IR1052.224-9001(a) Disclosure of Information--Criminal/Civil Sanctions (JAN 1998)
 (1) Each officer or employee of any person (Contractor or subcontractor) at any tier to whom
 returns or return information is or may be disclosed shall be notified in writing by the person
 (Contractor or subcontractor) that returns or return information disclosed to such officer or
 employee can be used only for a purpose and to the extent authorized herein, and that further
 disclosure of any such returns or return information for a purpose or to an extent unauthorized
 herein constitutes a felony punishable upon conviction by a fine of as much as $5,000 or
 imprisonment for as long as five years, or both, together with the costs of prosecution. Such
 person (Contractor or subcontractor) shall also notify each such officer and employee that any
 such unauthorized future disclosure of returns or return information may also result in an
 award of civil damages against the officer or employee in an amount not less than $1,000
 with respect to each instance of unauthorized disclosure plus in the case of willful disclosure
 or a disclosure which is the result of gross negligence, punitive damages, plus the cost of the
 action. These penalties are prescribed by IRC Sections 7213 and 7431 and set forth at 26
 CFR 301.6103(n)-1.

 (2) Each officer or employee of any person (Contractor or subcontractor) to whom returns or
 return information is or may be disclosed shall be notified in writing by such person that any
 return or return information made available in any format shall be used only for the purpose
 of carrying out the provisions of this contract and that inspection of any such returns or return
 information for a purpose or to an extent not authorized herein constitutes a criminal
 misdemeanor punishable upon conviction by a fine of as much as $1,000.00 or imprisonment
 for as long as 1 year, or both, together with the costs of prosecution. Such person (Contractor
 or subcontractor) shall also notify each such officer and employee that any such unauthorized
 inspection of returns or return information may also result in an award of civil damages
 against the officer or employee in an amount equal to the sum of the greater of $1,000.00 for
 each act of unauthorized inspection with respect to which such defendant is found liable or
 the sum of the actual damages sustained by the plaintiff as a result of such unauthorized
 inspection plus in the case of a willful inspection or an inspection which is the result of gross
 negligence, punitive damages, plus the costs of the action. The penalties are prescribed by
 IRC Sections 7213A and 7431.

 (3) Additionally, it is incumbent upon the Contractor to inform its officers and employees of
 the penalties for improper disclosure imposed by the Privacy Act of 1974, 5 U.S.C. 552a.
 Specifically, 5 U.S.C. 552a(I)(1), which is made applicable to Contractors by 5 U.S.C.
 552a(m)(1), provides that any officer or employee of a Contractor, who by virtue of his/her
 employment or official position, has possession of or access to agency records which contain
 individually identifiable information, the disclosure of which is prohibited by the Privacy Act
 or regulations established there under, and who knowing that disclosure of the specific
 material is so prohibited, willfully discloses the material in any manner to any person or
 agency not entitled to receive it, shall be guilty of a misdemeanor and fined not more than
 $5,000.
                                       [End of Clause]

H.7 IR1052.224-9001(b) Disclosure of Information-Official Use Only (MAR 2008)




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Each officer or employee of the Contractor or subcontractor at any tier to whom "Official Use
Only" information may be made available or disclosed shall be notified in writing by the
Contractor that "Official Use Only" information disclosed to such officer or employee can be
used only for a purpose and to the extent authorized herein, and that further disclosure of any
such "Official Use Only" information, by any means, for a purpose or to an extent
unauthorized herein, may subject the offender to criminal sanctions imposed by 18 U.S.C.
Sections 641 and 3571. Section 641 of 18 U.S.C. provides, in pertinent part, that whoever
knowingly converts to his use or the use of another, or without authority sells, conveys, or
disposes of any record of the United States or whoever receives the same with the intent to
convert it to his use or gain, knowing it to have been converted, shall be guilty of a crime
punishable by a fine or imprisoned up to ten years or both.
[End of Clause]

H.8 IR1052.224-9002 Disclosure of Information--Inspection (DECEMBER 1988)

The Internal Revenue Service shall have the right to send its officers and employees into the
offices and plants of the Contractor for inspection of the facilities and operations provided for
the performance of any work under this contract. On the basis of such inspection, the
Contracting Officer may require specific measures in cases where the Contractor is found to
be noncompliant with contract safeguards.

[End of Clause]

H.9 IR1052.224-9005 Disclosure of Information (JANUARY 1998)

(a) I hereby certify that I will not disclose the identity of the taxpayer (living or deceased) or
the property or items to be valued, nor the results of any appraisal unless authorized in writing
by the Contracting Officer. I agree that, whether or not a contract is awarded to me, I will
keep all information confidential.

(b) If an IRS contract is awarded and it is necessary to allow inspection or to disclose
confidential information to perform under the contract, I will request, in writing, authorization
from the IRS Contracting Officer to make such inspection or disclosure.

                                    [End of Clause]

H.10 IR1052.224-9006 Nondisclosure of Information (JANUARY 1998)

(a) Except as provided elsewhere in this contract, the Contractor shall not disclose the
identity of the taxpayer or property being appraised, nor the results of the appraisal except to
the individual specified in this contract to receive the Contractor's report.

(b) Only those inspections or disclosures authorized in writing by the Contracting Officer
may be made, and only when it is clearly shown by the Contractor that such inspections or
disclosures are essential to successfully perform under this contract.




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 (c) Should a person (Contractor or subcontractor) or one of his/her employees make any
 unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
 Default clause (FAR 52.249- 8), incorporated herein by reference, may be invoked, and the
 person (Contractor or subcontractor) will be considered to be in breach of this contract.

                                      [End of Clause]

H.11 IR1052.224-9007 Authorization to Make Limited Disclosure (DECEMBER 1988)

 The Contractor is authorized to disclose the name and address of the taxpayer and/or the legal
 description of the property to courts of record or other sources when such disclosures are
 required in order to adequately accomplish the appraisal. Additional disclosures may be
 made only when authorized or directed by the Contracting Officer.

                                       [End of Clause]

H.12 IR1052-98-012 NONPAYMENT FOR UNAUTHORIZED WORK

 No payments will be made for any unauthorized supplies or services, or for any unauthorized
 changes to the work specified herein. This includes any service performed by the Contractor
 of his own volition or at the request of an individual other than a duly appointed Contracting
 Officer. Only a duly appointed Contracting Officer is authorized to change the specifications,
 terms, and conditions in this contract.

                                        [End of Clause]

H.13 Government's Price Ceiling

Services and/or materials in excess of the negotiated total estimated price in Section B are
provided at the Contractor's own risk. Additionally, the Contractor must immediately notify the
IRS COTR and the IRS CO when the price ceiling is 85% expended.

H.14 Travel Status, Meals and Incidental Expenses

   The Contractor’s personnel may be required to travel to perform duties as specified in this
   Contract.

   The Service will be responsible for reimbursement of travel costs only when such travel costs
   have been authorized in advance by the COR. Reimbursement shall be in accordance with
   FAR § 31.205-46 (Travel Costs) and current Federal Travel Regulations.

   Authorized costs shall be itemized by the Contractor and submitted with supporting
   documents (receipts, paid invoices, etc.) for reimbursement by the Service not to exceed the
   funding limitation established by the Contracting Officer at time of contract award or through
   contract modification.




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TRAVEL EXPENSES

   Travel expenses will be limited to travel and per diem expenses at rates established in the
   Federal Travel Regulations for official Government travel. The Service reserves the right to
   determine modes of transportation, routes, etc., for purposes of travel cost reimbursement.

   If applicable in connection with the performance of the work set forth in this Contract, the
   Contractor may be reimbursed actual cost of travel and subsistence expenses subject to the
   following limitations:

       1) Transportation costs may be based upon mileage rates, actual costs incurred, or
          combination thereof, provided the method used results in a reasonable charge that
          does not exceed the mileage rate in effect at the time of travel as set forth in the
          Federal Travel Regulations. The Service reserves the right to determine the mode of
          transportation, routes, etc., for purpose of travel cost reimbursement.

       2) Costs incurred for lodging, meals, and incidental expenses, as defined in FAR 31.205-
          46, are allowable only to the extent that they do not exceed on a daily basis, the
          maximum per diem rates in effect at the time of travel as set forth in the Federal
          Travel Regulations prescribed by the General Services Administration.

       3) Travel and subsistence expenses are subject to the following:

              A) A subsistence allowance covering reasonable expenditures for lodging and
                 meals, not to exceed applicable Government per diem rates per day.

              B) Actual cost of public transportation, limited to less than first class.

              C) Expenses for transportation by privately owned vehicle on a mileage basis at
                 the current standard Government rate, plus toll and ferry charges.

              D) Cost of transportation from terminal to hotel, or terminal to either Service
                 office, Federal Courthouse, and Taxpayer locations.

              E) Invoices must be itemized as to all expenses incurred. Each authorized travel
                 and subsistence expense exceeding $75.00 must be supported by a copy of
                 paid receipt.

              F) No reimbursement will be made for time spent in travel status.

TRAVEL STATUS, MEALS AND INCIDENTAL EXPENSES (M&IE)

For authorized travel, the allowable Federal Travel Regulation (FTR) M&IE calculations and
costs for authorized travel, if any, are explained and included with each authorized trip.

       Under the FTR, no receipts are required for allowable M&IE.



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       The following additional FTR rules also apply to meals and incidental expenses for
       authorized travel, if any:

       No M&IE is allowable for travel status of 12 hours or less;

       For travel status exceeding 12 hours, the first day of travel and the last day of travel is
       each limited to 75% of the allowable daily M&IE rate; and

       For travel status of more than 12 hours but less than 24 hours when no lodging is
       required, M&IE is limited to 75% of the allowable daily M&IE rate.

       Use of privately owned vehicle (when use of POV is determined to be advantageous to
       the Government) while on travel status under this contract will be reimbursed at the
       allowable FTR current mileage rate.

TRAVEL STATUS, LODGING

For authorized travel, the traveler should request the Government rate (Department of Treasury)
when making lodging reservations (if hotel questions this, please have hotel call IRS CO).
Legible copies of lodging receipts are required for reimbursement, in any dollar amount. Taxes
related to lodging are reimbursed under miscellaneous travel expenses.

TRAVEL COSTS, RECEIPTS REQUIRED

Pursuant to the FTR, legible copies of receipts for any single travel-related expenditure
exceeding $75.00 are required for authorized travel.

TRAVEL COSTS, RECEIPTS NOT REQUIRED

Pursuant to the FTR, receipts are not required for any single travel-related expense, which is
under $75.00 (except for lodging and air/rail fare) for authorized travel. No receipts are required
for authorized privately owned vehicle mileage at the allowable FTR mileage rate.

ALLOWABLE DIRECT PROJECT, NON-TRAVEL COSTS, RECEIPTS

Legible copies of receipts are required for any, authorized allowable direct project, non-travel
items billed at cost, in any dollar amount, on the Contractor's invoices.

ALLOWABLE DIRECT PROJECT COSTS, RECEIPTS UNAVAILABLE

If any cost item billed under a Contractor's invoice requires a receipt and it is not furnished, then
the failure to do so must be fully explained with the invoice. Nonetheless, the Government
reserves the right to determine whether or not payment therefore is appropriate.

EXCEPTION TO PER DIEM MAXIMUM




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In special or unusual situations, actual costs in excess of the above-referenced maximum per
diem rates are allowable, provided that such amounts do not exceed the higher amount
authorized for Federal civilian employees as permitted in the Federal Travel Regulations. For
such higher amount to be allowable, justification must be received by the Contracting Officer,
from the Contractor, ensuring that the authority will be properly administered. If the higher
expense method is to be used, invoices must be itemized as to all expenses incurred. The
Contractor must obtain advance approval from the Contracting Officer prior to incurring costs in
excess of the above-referenced maximum per diem rates.


MISCELLANEOUS EXPENSES


The Contractor’s actual cost of miscellaneous expenses directly associated with contract
performance may be reimbursable. Expenses include, but are not limited to, postage, express
mail, facsimile, photocopying, online research, and outside research materials. A necessary and
reasonably priced expense is reimbursable, provided such expenses have been identified in
advance by the Contractor and authorized by the Contracting Officer. Expenses included in the
Contractor’s hourly rates(s) established in the Schedule, and considered a part of normal business
expense included in the Contractor’s overhead, or general and administrative rates are not
reimbursable.

H.15 Other Direct Costs

Includes: expenses for copies, telephone calls, express mailing service, printing costs, fax, data,
and mail. Expenses must be itemized on invoices, with legible copies of receipts attached.

H.16 Reimbursement for Contractor Services

A contractually binding labor-hour rate (or rates) shall be established for Contractor services to
be rendered under the requirements of Phase 1 and Phase 2. Payment will be made in accordance
with FAR 52.232-7, Alt. II, Payments Under Time-and-Materials and Labor-Hour Contracts.
Work in Phase 1 and Phase 2 shall be performed and billed on an hourly basis. The hourly rates
are the Contractor’s complete compensation, except for reimbursement of the Contractor’s cost
of travel or miscellaneous expenses authorized in advance by the Contracting Officer.
Reimbursement of Contractor’s Travel and Miscellaneous expenses will be made based upon the
terms outlined below above under H.14 Travel Status, Meals and Incidental Expenses.

H.17    5% Withholding On Payments for Services

Per FAR 52.232-7 Payments under Time-and-Materials and Labor-Hour Contracts:

(7) Unless otherwise prescribed in the Schedule, the Contracting Officer may unilaterally issue a
contract modification requiring the Contractor to withhold amounts from its
billings until a reserve is set aside in an amount that the Contracting Officer considers necessary
to protect the Government's interests. The Contracting Officer may require a


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withhold of 5 percent of the amounts due under paragraph (a) of this clause, but the total amount
withheld for the contract shall not exceed $50,000. The amounts withheld shall be retained until
the Contractor executes and delivers the release required by paragraph (g) of this clause.

H.18 Suspension and/or Cessation of Work

The COR or POC may notify the Contractor orally. This will be confirmed in writing via
modification to the order by the CO that all or part of the work called for by this contract shall be
suspended, or shall cease until further notice. Upon receipt of this notification, the Contractor
shall immediately suspend performance and incur no further expenses under this Contract.

The Contractor shall not resume work until instructed to do so by written notification from the
CO. In an emergency situation (after business hours or on a weekend), the COR or POC may
issue this notification orally, however the CO shall confirm such notification in writing within
two business days. If the CO does not confirm the oral notification within two business days
than such oral notification is rescinded.

H.19 Government-Furnished Property

Taxpayers’ returns and return information, records, documents, and other pertinent
data needed, for official use only, may be furnished to the Contractor by the Government's
project personnel, upon commencement of work under this Contract. This Government-
furnished property shall be returned to POC or COR, as directed, or destroyed upon completion
of performance of the Contract.

H.20 Conflict of Interest - Disclosure of Actual or Potential Conflicts of Interests and Need
for Written Informed Consent Prior to Representation

The Contractor shall immediately notify the COR and POC of any real or apparent conflicts of
interest and of any potential conflicts of interest.


A. The Contractor is a law firm that represents current clients in matters adverse to the Internal
Revenue Service or the U.S. Department of the Treasury that are unrelated to the scope of work
contemplated by this Contract and that create waiveable concurrent conflicts of interest under the
applicable rules of professional conduct for lawyers. Prior to representing the Service, the
Contractor must first obtain informed consent under the applicable rules of professional conduct,
including written informed consent from the Service (“IRS Informed Consent”), for all such
concurrent conflicts of interest. The parties contemplate that, if granted by the Service, the IRS
Informed Consent will, under terms agreeable to both the Service and the Contractor, waive
concurrent conflicts and also give the Contractor flexibility to represent clients in certain new
matters that may be adverse to the Service or the U.S. Department of the Treasury. Proposed
language for the IRS Informed Consent will be submitted to the Service by the Contractor and, if
agreeable to the Service, accepted by the Service in writing and returned to the Contractor. If
IRS Informed Consent is not granted by the Service to the Contractor either prior to Contract
award or within 45 days after Contract award, the Contract will be terminated. The 45 day



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period in the foregoing sentence may be extended by mutual written agreement. Until the award
of the Contract and the execution of the IRS Informed Consent, the Contractor and the Service
will have no obligations under this Contract including, but not limited to, providing services or
payment.

B. Independent Judgment is an essential element of the Contractor’s performance under this
Contract. To ensure that the Contractor’s independence is not compromised, or that such
independence could not be reasonably challenged in litigation, the Contractor shall take all steps
necessary to avoid conflicts of interest, including taking steps to assure that it does not provide
services to other clients that would require the Contractor to take positions adverse or contrary to
the Government’s position in this case.

C. Prior to execution of the Contract, the contractor shall inform the Government of any client(s)
it is currently representing, or that it has represented in the past, for which a conflict of interest
may exist if the contractor were to provide services to the Government under this Contract. The
Contractor may also submit to the Government proposed remedial measures to mitigate such
conflicts. The Government will evaluate this information and decide whether the contractor’s
relationship or performance of services to other parties would prevent the contractor from
rendering services in an impartial, unbiased, and objective manner to the Government, or would
otherwise creates a conflict of interest or potential conflict of interest. The Contractor’s failure
to provide this information to the Government prior to Contract award may be grounds for
termination for default should the government learn, during the Contract, of a conflict of interest
that the Contractor was required to bring to the Government’s attention under this clause.

D. Upon Contract award, the contractor is expected to fully perform all phases of the Contract,
unless otherwise directed by the Government. During performance of the Contract, the
Contractor is barred from providing services to any other party(ies) in the taxpayer case which is
the subject of this Contract. In the event the contractor performs services during the period of
this Contract to third parties (other than services to third parties permitted under the IRS
Informed Consent, if any such consent is granted by the Service), which the Government
believes creates a conflict of interest or potential conflict of interest, the Government reserves the
right to immediately terminate the Contract for default. In such event, the contractor will be
liable to the Government for all monies previously paid to the contractor under the Contract, as
well as additional costs incurred by the Government to re-procure expert services in this matter.

H.21 Section 7602C Third Party Contact Procedures

Section 7602c of the Internal Revenue Code requires that contacts made with Third Parties
during the investigation/audit of a Federal Tax Return must be reported to the taxpayer. The
COTR will provide specific guidance to the Contractor regarding this legal requirement.
Generally authorized contacts with employees of the taxpayer are not Third Party Contacts.
Likewise, contacts with government agencies generally are not considered to be Third Party
Contacts.

H.22 Security Escort Services




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IRM 1.23.2.2.6.1, for security reasons, requires that Contractors or their employees must be
escorted by IRS employees when deemed appropriate in lieu of (a background) investigation.
This requirement applies when the Contractor is on IRS premises or on taxpayer premises.

H.23 Advertising of Award/Publicity Releases

During Contract performance and after Contract completion, the Contractor agrees not to refer to
the Contract award in commercial advertisements or other public notifications in such a manner
as to state or imply that the product or service is endorsed or preferred by the Government or is
considered by the Government to be superior to other products or services. All publicity releases
in connection with this Contract by the Contractor must have prior written approval from the IRS
Public Affairs Officer through the IRS Contracting Officer who awarded the contract. Violation
of this provision will be grounds, at the option of the Government, for termination of the
Contract.

H.24 52.227-17 Rights in Data—Special Works (DECEMBER 2007)

(a) Definitions. As used in this clause—
“Data” means recorded information, regardless of form or the media on which it may be
recorded. The term includes technical data and computer software. The term does not include
information incidental to contract administration, such as financial, administrative, cost or
pricing, or management information.
“Unlimited rights” means the rights of the Government to use, disclose, reproduce, prepare
derivative works, distribute copies to the public, and perform publicly and display publicly, in
any manner and for any purpose, and to have or permit others to do so.
(b) Allocation of Rights.
(1) The Government shall have—
(i) Unlimited rights in all data delivered under this contract, and in all data first produced in the
performance of this contract, except as provided in paragraph (c) of this clause.
(ii) The right to limit assertion of copyright in data first produced in the performance of this
contract, and to obtain assignment of copyright in that data, in accordance with paragraph (c)(1)
of this clause.
(iii) The right to limit the release and use of certain data in accordance with paragraph (d) of this
clause.
(2) The Contractor shall have, to the extent permission is granted in accordance with paragraph
(c)(1) of this clause, the right to assert claim to copyright subsisting in data first produced in the
performance of this contract.
(c) Copyright—
(1) Data first produced in the performance of this contract.
(i) The Contractor shall not assert or authorize others to assert any claim to copyright subsisting
in any data first produced in the performance of this contract without prior written permission of
the Contracting Officer. When copyright is asserted, the Contractor shall affix the appropriate
copyright notice of 1 7 U.S.C. 401 or 402 and acknowledgment of Government sponsorship
(including contract number) to the data when delivered to the Government, as well as when the
data are published or deposited for registration as a published work in the U.S. Copyright Office.
The Contractor grants the Government, and others acting on its behalf, a paid-up, nonexclusive,



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irrevocable, worldwide license for all delivered data to reproduce, prepare derivative works,
distribute copies to the public, and perform publicly and display publicly, by or on behalf of the
Government.
(ii) If the Government desires to obtain copyright in data first produced in the performance of
this contract and permission has not been granted as set forth in paragraph (c)(1)(i) of this clause,
the Contracting Officer shall direct the Contractor to assign (with or without registration), or
obtain the assignment of, the copyright to the Government or its designated assignee.
(2) Data not first produced in the performance of this contract. The Contractor shall not, without
prior written permission of the Contracting Officer, incorporate in data delivered under this
contract any data not first produced in the performance of this contract and that contain the
copyright notice of 17 U.S.C. 401 or 402 , unless the Contractor identifies such data and grants
to the Government, or acquires on its behalf, a license of the same scope as set forth in paragraph
(c)(1) of this clause.
(d) Release and use restrictions. Except as otherwise specifically provided for in this contract,
the Contractor shall not use, release, reproduce, distribute, or publish any data first produced in
the performance of this contract, nor authorize others to do so, without written permission of the
Contracting Officer.
(e) Indemnity. The Contractor shall indemnify the Government and its officers, agents, and
employees acting for the Government against any liability, including costs and expenses,
incurred as the result of the violation of trade secrets, copyrights, or right of privacy or publicity,
arising out of the creation, delivery, publication, or use of any data furnished under this contract;
or any libelous or other unlawful matter contained in such data. The provisions of this paragraph
do not apply unless the Government provides notice to the Contractor as soon as practicable of
any claim or suit, affords the Contractor an opportunity under applicable laws, rules, or
regulations to participate in the defense of the claim or suit, and obtains the Contractor’s consent
to the settlement of any claim or suit other than as required by final decree of a court of
competent jurisdiction; and these provisions do not apply to material furnished to the Contractor
by the Government and incorporated in data to which this clause applies.
(End of clause)

H.25 Contractor obligation to perform all Contract Phases

The phases of the Contract are interconnected and require seamless contractor performance
through settlement and/or final disposition of the taxpayer case. Each phase forms the basis for
the following phase and, therefore, failure to perform a phase of the Contract will reduce and/or
eliminate the value of work performed in previous phases. As such, if the Contractor(s) are
unable for any reason to perform all phases of the Contract, due to the Contractor’s fault, before
settlement and/or the final disposition of the taxpayer case, the Government will consider the
contractor to be in breach of the Contract and will seek recovery of all monies paid to the
contractor even for those services performed by the contractor as well as re-procurement costs to
obtain other expert services in the matter.




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                                             SECTION I
I.1 52.252-2 Clauses Incorporated by Reference (FEBRUARY 1998)

This Contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the Contacting Officer will make their full text
available. Also, the full text of a clause may be accessed electronically at this/these address(es):
https://www.acquisition.gov/far

Federal Acquisition Regulations (48 CFR Chapter 1) Clauses Incorporated by Reference

 FAR
 CLAUSE           TITLE                                                                    DATE
 NO.
 52.213-4         TERMS AND CONDITIONS--SIMPLIFIED ACQUISITIONS                            Aug 2012
                  (OTHER THAN COMMERCIAL ITEMS) (Aug 2012)
 52.203-6         Restrictions on Subcontractor Sales to the Government                    Sep 2006
 52.203-7         Anti-Kickback Procedures                                                 Oct 2010
                  Cancellation, Rescission, and Recovery of Funds for Illegal or           Jan 1997
 52.203-8         Improper Activity
 52.203-10        Price or Fee Adjustment for Illegal or Improper Activity                 Jan 1997
 52.203-12        Limitation on Payments to Influence Certain Federal Transactions         Oct 2010
 52.204-4         Printed or Copied Double-Sided on Recycled Paper                         May 2011
 52.204-7         Central Contractor Registration                                          Dec 2012
 52.204-9         Personal Identity Verification of Contractor Personnel                   Jan 2011
 52.209-5         Certification Regarding Responsibility Matters                           Apr 2010
                  Protecting the Government’s Interest When Subcontracting with            Dec 2010
 52.209-6         Contractors Debarred, Suspended, or Proposed for Debarment
 52.215-2         Audit and Records—Negotiation                                            Oct 2010
 52.217-7         Option for Increased Quantity—Separately Priced Line Item                MAR 1989
 52.217-8         OPTION TO EXTEND SERVICES                                                NOV 1999
 52.217-9         OPTION TO EXTEND THE TERM OF THE CONTRACT                                MAR 2000
 52.224-1         PRIVACY ACT NOTIFICATION (APR 1984)                                      APR 1984
 52.224-2         PRIVACY ACT (APR 1984)                                                   APR 1984
 52.232-8         Discounts for Prompt Payment                                             Feb 2002
 52.232-9         Limitation on Withholding of Payments                                    April 1984
 52.232-17        Interest                                                                 Oct 2010
 52.232-18        AVAILABILITY OF FUNDS (Apr 1984)                                         Apr 1984
 52.232-25        Prompt Payment                                                           Oct 2008
 52.232-33        Payment by Electronic Funds Transfer—Central Contractor                  Oct 2003
                  Registration
 52.233-1         Disputes                                                                 July 2002
 52.233-4         Applicable Law for Breach of Contract Claim                              Oct 2004
 52.239-1         PRIVACY OR SECURITY SAFEGUARDS (AUG 1996)                                AUG 1996
 52.242-3         Penalties for Unallowable Costs                                          May 2001


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52.242-13        Bankruptcy                                                             July 1995
52.243-3         Changes—Time-and-Materials or Labor-Hours                              Sep 2000
52.245-5         Government Property (Cost-Reimbursement, Time-and-Material,            Aug 2010
                 or Labor-Hour Contracts)
52.246-25        Limitation of Liability—Services                                       Feb 1997
52.249-14        Excusable Delays                                                       Apr 1984
52.253-1         Computer Generated Forms                                               Jan 1991


I.2 52.232-7 PAYMENT UNDER TIME-AND-MATERIALS AND LABOR-HOUR
CONTRACTS (FEBRUARY 2007)

The Government will pay the Contractor as follows upon the submission of vouchers
approved by the Contracting Officer or the authorized representative:
(a) Hourly rate.
(1) Hourly rate means the rate(s) prescribed in the contract for payment for labor that meets
the labor category qualifications of a labor category specified in the contract that are—
(i) Performed by the Contractor;
(ii) Performed by the subcontractors; or
(iii) Transferred between divisions, subsidiaries, or affiliates of the Contractor under a
common control.
(2) The amounts shall be computed by multiplying the appropriate hourly rates prescribed in
the Schedule by the number of direct labor hours performed.
(3) The hourly rates shall be paid for all labor performed on the contract that meets the labor
qualifications specified in the contract. Labor hours incurred to perform tasks for which labor
qualifications were specified in the contract will not be paid to the extent the work is
performed by employees that do not meet the qualifications specified in the contract, unless
specifically authorized by the Contracting Officer.
(4) The hourly rates shall include wages, indirect costs, general and administrative expense,
and profit. Fractional parts of an hour shall be payable on a prorated basis.
(5) Vouchers may be submitted once each month (or at more frequent intervals, if approved
by the Contracting Officer), to the Contracting Officer or authorized representative. The
Contractor shall substantiate vouchers (including any subcontractor hours reimbursed at the
hourly rate in the schedule) by evidence of actual payment and by—
(i) Individual daily job timekeeping records;
(ii) Records that verify the employees meet the qualifications for the labor categories
specified in the contract; or
(iii) Other substantiation approved by the Contracting Officer.
(6) Promptly after receipt of each substantiated voucher, the Government shall, except as
otherwise provided in this contract, and subject to the terms of paragraph (e) of this clause,
pay the voucher as approved by the Contracting Officer or authorized representative.
(7) Unless otherwise prescribed in the Schedule, the Contracting Officer may unilaterally
issue a contract modification requiring the Contractor to withhold amounts from its billings
until a reserve is set aside in an amount that the Contracting Officer considers necessary to
protect the Government's interests. The Contracting Officer may require a withhold of 5
percent of the amounts due under paragraph (a) of this clause, but the total amount withheld



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for the contract shall not exceed $50,000. The amounts withheld shall be retained until the
Contractor executes and delivers the release required by paragraph (g) of this clause.
(8) Unless the Schedule prescribes otherwise, the hourly rates in the Schedule shall not be
varied by virtue of the Contractor having performed work on an overtime basis. If no
overtime rates are provided in the Schedule and overtime work is approved in advance by the
Contracting Officer, overtime rates shall be negotiated. Failure to agree upon these overtime
rates shall be treated as a dispute under the Disputes clause of this contract. If the Schedule
provides rates for overtime, the premium portion of those rates will be reimbursable only to
the extent the overtime is approved by the Contracting Officer.
(b) Materials.
(1) or the purposes of this clause—
(i) Direct materials means those materials that enter directly into the end product, or that are
used or consumed directly in connection with the furnishing of the end product or service.
(ii) Materials means—
(A) Direct materials, including supplies transferred between divisions, subsidiaries, or
affiliates of the Contractor under a common control;
(B) Subcontracts for supplies and incidental services for which there is not a labor category
specified in the contract;
(C) Other direct costs (e.g., incidental services for which there is not a labor category
specified in the contract, travel, computer usage charges, etc.); and
(D) Applicable indirect costs.
(2) If the Contractor furnishes its own materials that meet the definition of a commercial item
at 2.101, the price to be paid for such materials shall not exceed the Contractor's established
catalog or market price, adjusted to reflect the—
(i) Quantities being acquired; and
(ii) Actual cost of any modifications necessary because of contract requirements.
(3) Except as provided for in paragraph (b)(2) of this clause, the Government will reimburse
the Contractor for allowable cost of materials provided the Contractor—
(i) Has made payments for materials in accordance with the terms and conditions of the
agreement or invoice; or
(ii) Ordinarily makes these payments within 30 days of the submission of the Contractor's
payment request to the Government and such payment is in accordance with the terms and
conditions of the agreement or invoice.
(4) Payment for materials is subject to the Allowable Cost and Payment clause of this
contract. The Contracting Officer will determine allowable costs of materials in accordance
with Subpart 31.2 of the Federal Acquisition Regulation (FAR) in effect on the date of this
contract.
(5) The Contractor may include allocable indirect costs and other direct costs to the extent
they are—
(i) Comprised only of costs that are clearly excluded from the hourly rate;
(ii) Allocated in accordance with the Contractor's written or established accounting practices;
and
(iii) Indirect costs are not applied to subcontracts that are paid at the hourly rates.
(6) To the extent able, the Contractor shall—
(i) Obtain materials at the most advantageous prices available with due regard to securing
prompt delivery of satisfactory materials; and



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(ii) Take all cash and trade discounts, rebates, allowances, credits, salvage, commissions, and
other benefits. When unable to take advantage of the benefits, the Contractor shall promptly
notify the Contracting Officer and give the reasons. The Contractor shall give credit to the
Government for cash and trade discounts, rebates, scrap, commissions, and other amounts
that have accrued to the benefit of the Contractor, or would have accrued except for the fault
or neglect of the Contractor. The Contractor shall not deduct from gross costs the benefits lost
without fault or neglect on the part of the Contractor, or lost through fault of the Government.
(7) Except as provided for in 31.205-26(e) and (f), the Government will not pay profit or fee
to the prime Contractor on materials.
(c) If the Contractor enters into any subcontract that requires consent under the clause at
52.244-2, Subcontracts, without obtaining such consent, the Government is not required to
reimburse the Contractor for any costs incurred under the subcontract prior to the date the
Contractor obtains the required consent. Any reimbursement of subcontract costs incurred
prior to the date the consent was obtained shall be at the sole discretion of the Government.
(d) Total cost. It is estimated that the total cost to the Government for the performance of this
contract shall not exceed the ceiling price set forth in the Schedule, and the Contractor agrees
to use its best efforts to perform the work specified in the Schedule and all obligations under
this contract within such ceiling price. If at any time the Contractor has reason to believe that
the hourly rate payments and material costs that will accrue in performing this contract in the
next succeeding 30 days, if added to all other payments and costs previously accrued, will
exceed 85 percent of the ceiling price in the Schedule, the Contractor shall notify the
Contracting Officer giving a revised estimate of the total price to the Government for
performing this contract with supporting reasons and documentation. If at any time during
performing this contract, the Contractor has reason to believe that the total price to the
Government for performing this contract will be substantially greater or less than the then
stated ceiling price, the Contractor shall so notify the Contracting Officer, giving a revised
estimate of the total price for performing this contract, with supporting reasons and
documentation. If at any time during performing this contract, the Government has reason to
believe that the work to be required in performing this contract will be substantially greater or
less than the stated ceiling price, the Contracting Officer will so advise the Contractor, giving
the then revised estimate of the total amount of effort to be required under the contract.
(e) Ceiling price. The Government will not be obligated to pay the Contractor any amount in
excess of the ceiling price in the Schedule, and the Contractor shall not be obligated to
continue performance if to do so would exceed the ceiling price set forth in the Schedule,
unless and until the Contracting Officer notifies the Contractor in writing that the ceiling
price has been increased and specifies in the notice a revised ceiling that shall constitute the
ceiling price for performance under this contract. When and to the extent that the ceiling price
set forth in the Schedule has been increased, any hours expended and material costs incurred
by the Contractor in excess of the ceiling price before the increase shall be allowable to the
same extent as if the hours expended and material costs had been incurred after the increase
in the ceiling price.
(f) Audit. At any time before final payment under this contract, the Contracting Officer may
request audit of the vouchers and supporting documentation. Each payment previously made
shall be subject to reduction to the extent of amounts, on preceding vouchers, that are found
by the Contracting Officer or authorized representative not to have been properly payable and
shall also be subject to reduction for overpayments or to increase for underpayments. Upon



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 receipt and approval of the voucher designated by the Contractor as the “completion voucher”
 and supporting documentation, and upon compliance by the Contractor with all terms of this
 contract (including, without limitation, terms relating to patents and the terms of paragraph
 (g) of this clause), the Government shall promptly pay any balance due the Contractor. The
 completion voucher, and supporting documentation, shall be submitted by the Contractor as
 promptly as practicable following completion of the work under this contract, but in no event
 later than 1 year (or such longer period as the Contracting Officer may approve in writing)
 from the date of completion.
 (g) Assignment and Release of Claims. The Contractor, and each assignee under an
 assignment entered into under this contract and in effect at the time of final payment under
 this contract, shall execute and deliver, at the time of and as a condition precedent to final
 payment under this contract, a release discharging the Government, its officers, agents, and
 employees of and from all liabilities, obligations, and claims arising out of or under this
 contract, subject only to the following exceptions:
 (1) Specified claims in stated amounts, or in estimated amounts if the amounts are not
 susceptible of exact statement by the Contractor.
 (2) Claims, together with reasonable incidental expenses, based upon the liabilities of the
 Contractor to third parties arising out of performing this contract, that are not known to the
 Contractor on the date of the execution of the release, and of which the Contractor gives
 notice in writing to the Contracting Officer not more than 6 years after the date of the release
 or the date of any notice to the Contractor that the Government is prepared to make final
 payment, whichever is earlier.
 (3) Claims for reimbursement of costs (other than expenses of the Contractor by reason of its
 indemnification of the Government against patent liability), including reasonable incidental
 expenses, incurred by the Contractor under the terms of this contract relating to patents.
 (h) Interim payments on contracts for other than services.
 (1) Interim payments made prior to the final payment under the contract are contract
 financing payments. Contract financing payments are not subject to the interest penalty
 provisions of the Prompt Payment Act.
 (2) The designated payment office will make interim payments for contract financing on the
 _________ [Contracting Officer insert day as prescribed by agency head; if not prescribed,
 insert “30th”] day after the designated billing office receives a proper payment request. In the
 event that the Government requires an audit or other review of a specific payment request to
 ensure compliance with the terms and conditions of the contract, the designated payment
 office is not compelled to make payment by the specified due date.
 (i) Interim payments on contracts for services. For interim payments made prior to the final
 payment under this contract, the Government will make payment in accordance with the
 Prompt Payment Act (31 U.S.C. 3903) and prompt payment regulations at 5 CFR part 1315.

                                          (End of clause)


I.3 52.232-22 LIMITATION OF FUNDS (APRIL 1984)

  a) The parties estimate that performance of this contract will not cost the Government more
than (1) the estimated cost specified in the Schedule or, (2) if this is a cost-sharing contract, the



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Government’s share of the estimated cost specified in the Schedule. The Contractor agrees to use
its best efforts to perform the work specified in the Schedule and all obligations under this
contract within the estimated cost, which, if this is a cost-sharing contract, includes both the
Government’s and the Contractor’s share of the cost.
  (b) The Schedule specifies the amount presently available for payment by the Government and
allotted to this contract, the items covered, the Government’s share of the cost if this is a cost-
sharing contract, and the period of performance it is estimated the allotted amount will cover.
The parties contemplate that the Government will allot additional funds incrementally to the
contract up to the full estimated cost to the Government specified in the Schedule, exclusive of
any fee. The Contractor agrees to perform, or have performed, work on the contract up to the
point at which the total amount paid and payable by the Government under the contract
approximates but does not exceed the total amount actually allotted by the Government to the
contract.
  (c) The Contractor shall notify the Contracting Officer in writing whenever it has reason to
believe that the costs it expects to incur under this contract in the next 60 days, when added to all
costs previously incurred, will exceed 75 percent of (1) the total amount so far allotted to the
contract by the Government or, (2) if this is a cost-sharing contract, the amount then allotted to
the contract by the Government plus the Contractor’s corresponding share. The notice shall state
the estimated amount of additional funds required to continue performance for the period
specified in the Schedule.
  (d) Sixty days before the end of the period specified in the Schedule, the Contractor shall notify
the Contracting Officer in writing of the estimated amount of additional funds, if any, required to
continue timely performance under the contract or for any further period specified in the
Schedule or otherwise agreed upon, and when the funds will be required.
  (e) If, after notification, additional funds are not allotted by the end of the period specified in
the Schedule or another agreed-upon date, upon the Contractor’s written request the Contracting
Officer will terminate this contract on that date in accordance with the provisions of the
Termination clause of this contract. If the Contractor estimates that the funds available will allow
it to continue to discharge its obligations beyond that date, it may specify a later date in its
request, and the Contracting Officer may terminate this contract on that later date.
  (f) Except as required by other provisions of this contract, specifically citing and stated to be an
exception to this clause—
(1) The Government is not obligated to reimburse the Contractor for costs incurred in excess of
the total amount allotted by the Government to this contract; and
(2) The Contractor is not obligated to continue performance under this contract (including
actions under the Termination clause of this contract) or otherwise incur costs in excess of—
          (i) The amount then allotted to the contract by the Government or;
(ii) If this is a cost-sharing contract, the amount then allotted by the Government to the contract
plus the Contractor’s corresponding share, until the Contracting Officer notifies the Contractor in
writing that the amount allotted by the Government has been increased and specifies an increased
amount, which shall then constitute the total amount allotted by the Government to this contract.
  (g) The estimated cost shall be increased to the extent that (1) the amount allotted by the
Government or, (2) if this is a cost-sharing contract, the amount then allotted by the Government
to the contract plus the Contractor’s corresponding share, exceeds the estimated cost specified in
the Schedule. If this is a cost-sharing contract, the increase shall be allocated in accordance with
the formula specified in the Schedule.



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 (h) No notice, communication, or representation in any form other than that specified in
paragraph (f)(2) of this clause, or from any person other than the Contracting Officer, shall affect
the amount allotted by the Government to this contract. In the absence of the specified notice, the
Government is not obligated to reimburse the Contractor for any costs in excess of the total
amount allotted by the Government to this contract, whether incurred during the course of the
contract or as a result of termination.
 (i) When and to the extent that the amount allotted by the Government to the contract is
increased, any costs the Contractor incurs before the increase that are in excess of—
(1) The amount previously allotted by the Government or;
(2) If this is a cost-sharing contract, the amount previously allotted by the Government to the
contract plus the Contractor’s corresponding share, shall be allowable to the same extent as if
incurred afterward, unless the Contracting Officer issues a termination or other notice and directs
that the increase is solely to cover termination or other specified expenses.
 (j) Change orders shall not be considered an authorization to exceed the amount allotted by the
Government specified in the Schedule, unless they contain a statement increasing the amount
allotted.
 (k) Nothing in this clause shall affect the right of the Government to terminate this contract. If
this contract is terminated, the Government and the Contractor shall negotiate an equitable
distribution of all property produced or purchased under the contract, based upon the share of
costs incurred by each.
 (l) If the Government does not allot sufficient funds to allow completion of the work, the
Contractor is entitled to a percentage of the fee specified in the Schedule equaling the percentage
of completion of the work contemplated by this contract.
                                         (End of clause)


I.4 52.232-99, Providing Accelerated Payment to Small Business Subcontractors
(DEVIATION)                                                             (AUG 2012)

The contracting officer shall insert the following clause in all solicitations and resultant
This clause implements the temporary policy provided by OMB Policy Memorandum M-12-16,
Providing Prompt Payment to Small Business Subcontractors, dated July 11, 2012.

      a. Upon receipt of accelerated payments from the Government, the contractor is required to
make accelerated payments to small business subcontractors to the maximum extent practicable
after receipt of a proper invoice and all proper documentation from the small business
subcontractor.
     b. Include the substance of this clause, including this paragraph (b), in all subcontracts with
         small business concerns.
     c. The acceleration of payments under this clause does not provide any new rights under
         the Prompt Payment Act.

I.5 IR1052.204-9003 – IRS Security Awareness Training Requirements

Include the following clause in solicitations, contracts, task/delivery/purchase orders, interagency
agreements, and BPAs that require contractors and contractor employees to have staff-like access



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to IRS SBU information (electronic or paper-based) or information systems at an IRS facility or
a contractor-owned/managed facility.

IRS SECURITY AWARENESS TRAINING REQUIREMENTS (AUG 2010)

(a) The Federal Information Security Management Act of 2002 (FISMA) requires each federal
agency to provide periodic information security awareness training to all employees, including
contractors, involved in the management, use, or operation of Federal information and
information systems. In addition, IRS contractors and their employees are subject to the
Taxpayer Browsing Protection Act of 1997, which prohibits willful unauthorized inspection of
returns and return information. Violation of the Act could result in civil and criminal penalties.

(b) Contractors and their employees who require staff-like access to IRS information or
information systems at an IRS facility or a contractor-owned/managed facility shall complete
IRS security awareness training annually, as specified in the contract.1
NOTE: “IRS information” means Sensitive But Unclassified (SBU) information, as defined in
Internal Revenue Manual 10.8.1 – Policy and Guidance. SBU may be categorized in one or more
of the following groups—
            Returns and Return Information
            Sensitive Law Enforcement Information
            Employee Information
            Personally Identifiable Information
            Other Protected Information

(c) The contractor shall ensure all contractor employees who require staff-like access to IRS
owned or controlled facilities, or IRS information or information systems, regardless of their
physical location, complete one or more Information Protection briefings on computer security,
disclosure, privacy, physical security, and/or UNAX, as specified by CSLP. Individually and
collectively, these briefings make up the IRS Security Awareness Training (SAT) requirements
for the Service’s information assets.
Personnel required to complete SAT include, but are not necessarily limited to, contractor
employees involved in any of the following activities:
            Manage, program or maintain IRS information in a production environment;
            Operate an information system on behalf of the IRS;
            Conduct testing or development of information or information systems on behalf of
            the IRS; or
            Provide advisory and assistance (consulting) services, or administrative support.
Unless otherwise provided under the terms of the immediate contract/order, contractor
employees in the following service categories with facilities access only who do not have access
to IRS workspace, or who work in buildings where a clean desk policy is in place for all IRS
employees, are not required to complete SAT–with the exception of Physical Security Training.:
            Medical;
            Cafeteria;
            Landscaping;
            Janitorial and cleaning (daylight operations);
            Building maintenance; or



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           Other maintenance and repair.

(d) All new contractor employees shall receive a system security orientation within the first ten
(10) business days following initial assignment to any IRS contract/order, and IT security
awareness training (commensurate with the individual’s duties and responsibilities) within five
(5) business days of being granted access to an IRS IT system.

(e) For each contractor employee assigned to this contract/order, the contractor shall submit
confirmation of completed SAT (using the form at the Mandatory Briefing web site or upon
email request to CSLP at CSLP@irs.gov), via email, to the Contracting Officer's Technical
Representative (COTR) and the Contractor Security Lifecycle Program (CSLP) upon
completion, but not later than ten (10) business days of starting work on this contract/task order.

(f) Thereafter, each contractor employee assigned to this contract/order shall complete SAT
annually not later than April 30th of each year in which there
P&P No. 39.1(C) Attachment 3 Page 3 of 3 is an ongoing period of performance (in either the
base period or any exercised option period). The contractor shall submit confirmation of
completed annual SAT on all contractor employees assigned to this contract/order, via email, to
the CO, COTR, and the Contractor Security Lifecycle Program (CSLP) upon completion, or not
later than May 12th of the then current calendar year or as requested by CSLP (whichever date is
earlier).

(g) Contractors shall verify in writing within 30 days of award, and by May 12, of each year
thereafter or as requested by CSLP (whichever date is earlier), that all of their affected
employees have successfully completed the specified training. Verification reports shall be
signed by an official with the authority to legally bind the Contractor.

(h) SAT is available on the Mandatory Briefing web site or if this site is not accessible, SAT
materials will be made available by CSLP upon request via email to CSLP@irs.gov).

(i) Contractor employees who fail to comply with IRS security policy (to include completion and
certification of SAT requirements within the timeframe specified) may be subject to having their
access to IRS IT systems and facilities suspended, revoked or terminated (temporarily or
permanently).

                                               [End of clause]

Alternate 1 (AUG 2010)

Substitute the following paragraph (g) for paragraphs (g) of the basic clause when an existing
contract, task/delivery/purchase order, interagency agreement, or BPA is being modified.

(g) Contractors shall verify in writing within 30 days of contract modification, and by May 12, of
each year thereafter, that all of their affected employees have successfully completed the
specified SAT. Verification reports shall be signed by an official with the authority to legally bind
the Contractor.



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I.6. IR1052.204-9005 Submission of Security Forms and Related Materials (JUN 2013)

As described in Department of the Treasury Security Manual (TD P 15-71), Chapter I, Section 1,
Position Sensitivity and Risk Designation, Contractor personnel assigned to perform work under
an IRS contract/order must undergo security investigative processing appropriate to the position
sensitivity and risk level designation associated to determine whether the Contractor personnel
should be permitted to work in the identified position. For security requirements at contractor
facilities using contractor managed resources, please reference Publication 4812, Contractor
Security Controls.

a. Contractor personnel performing under an agreement that authorizes unescorted access to and
in IRS facilities, and access to Sensitive But Unclassified (SBU) information or information
systems are subject to (and must receive a favorable adjudication or affirmative results with
respect to) the following eligibility/suitability pre-screening criteria, as applicable:

(1) IRS account history for tax compliance;

(2) Selective Service registration compliance;

(3) U.S. citizenship/residency compliance;

(4) Background investigation forms;

(5) Credit report results (moderate and high risk investigations only);

(6) Federal Bureau of Investigation fingerprint results; and

(7) If applicable, prior background investigations.

In this regard, Contractor shall furnish the following electronic documents to the Contractor
Security Management (CSM) at CSM@irs.gov or CSLP@irs.gov within 10 business days of
assigning (or reassigning) an employee to this contract/order and prior to the contract employee
performing any work thereunder:

   x   The IRS provided Risk Assessment Checklist (RAC), and

   x   All required security forms (for new contractor employees), are available through the
       publicly accessible website for IRS Procurement.

b. Tax Compliance, Credit Checks and Fingerprinting:

(1) Contractor personnel whose contract/order exceeds 180 days must be eligible for access, per
certification of tax compliance, and shall undergo, at a minimum a National Agency Check and
Inquiries as a condition of work under the contract/order, to include a credit check and
fingerprinting.




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(2) If the duration of employment is less than 180 days or access is infrequent (e.g., 2-3 days per
month) and the contractor requires unescorted access, the contractor employee must be eligible
for access, per certification of tax compliance, and require at a minimum a fingerprint check
(Special Agreement Check).

(3) With the exception of contractors who need access to IT systems, no background
investigation or tax check is necessary if the duration of employment is less than 180 days or
access is infrequent when there is escort provided by an IRS employee or an approved contractor
employee at the same or higher position risk level.

The contractor employee will be permitted to perform under the contract and have access to IRS
facilities only upon notice of an interim or final approval, as defined in Internal Revenue Manual
(IRM) 10.23.2 – Contractor Investigations, and is otherwise consistent with IRS security
practices and related IRMs, to include, but not limited to, IRM 1.4.6 – Managers Security
Handbook, IRM 10.2.14 – Methods of Providing Protection, and IRM 10.8.1 - Policy and
Guidance.
As prescribed in IRM 10.23.2, escorting in lieu of staff-like access for IT systems will not be
allowed.
                                               [End of clause]

I.7 IR1052.204.9006 – Notification of Change in Contractor Employee Employment Status,
Assignment, or Standing

Include the following clause in all new solicitations, contracts, interagency agreements,
task/delivery/purchase orders, and BPAs, including simplified acquisitions, and existing
contracts and orders as prescribed in P&P No. 39.1(C) – Managing Contractor Access to IRS
Owned or Controlled Facilities, Information Systems, or Sensitive But Unclassified (SBU)
Information

NOTIFICATION OF CHANGE IN CONTRACTOR EMPLOYEE
EMPLOYMENT STATUS, ASSIGNMENT, OR STANDING (AUG 2010)

(a) The contractor shall notify the Contracting Officer's Technical Representative (COTR) and
the Contractor Security Lifecycle Program (CSLP), via email, within one (1) business day of the
contractor becoming aware of any change in the employment status, assignment, or standing of a
contractor employee to this contract/order –to include, but not limited to, the following
conditions:
            Receipt of the employee’s notice of intent to separate from employment or
            discontinue work under this IRS contract/task order;
            Knowledge of the employee’s voluntary separation from employment or performance
            on this contract/task order (if no prior notice was given);
            Transfer or reassignment of the employee and performance of duties under this
            contract/task order, in whole or in part, to another IRS contract/task order (and
            identify the gaining contract and representative duties/responsibilities to allow for an
            assessment of suitability based on position sensitivity/risk level designation);
            Separation, furlough or release from employment;



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           Anticipated extended absence of more than 45 days;
           Change of legal name;
           Change to citizenship or lawful permanent resident status, or employment eligibility;
           Change in gender or other distinction when physical attributes figure prominently in
           the biography of an individual;
           Actual or perceived conflict of interest in continued performance under this
           contract/task order (provide explanation);
           Death.

(b) The notice shall include the following minimum information:
          Name of contractor employee
          Nature of the change in status, assignment or standing (i.e., provide a brief non-
          personal, broad-based explanation)
          Affected contract/task order number(s)
          Actual or anticipated date of departure or separation
          When applicable, the name of the IRS facility(s) this individual routinely works from
          or has access to when performing work under this contract/order
          Identification of any Government Furnished Property (GFP), Government Furnished
          Equipment (GFE), or Government Furnished Information (GFI) (to include Personal
          Identity Verification (PIV) credentials or badges) provided to the contractor employee
          and its whereabouts or status.

(c) In the event the subject contractor employee is working on multiple contracts/orders,
notification shall be combined, and the cognizant COTR for each affected contract/order shall be
included in the joint notification along with the CSLP.

(d) As a general rule, the change in the employment status, assignment, or standing of a
contractor employee to this contract/order would not form the basis for an excusable delay for
failure to perform this contract under its terms.

                                    [End of clause]

I.8 IR1052.239-9007 – Access, Use or Operation of IRS Information Technology (IT)
Systems by Contractors

As prescribed in 1039.9201, include the following clause in all solicitations, contracts,
interagency agreements, task/delivery/purchase orders, and BPAs, including simplified
acquisitions, when contractor employees will access, use or operate IRS information technology
systems, equipment or resources.

ACCESS, USE OR OPERATION OF IRS INFORMATION TECHNOLOGY (IT)
SYSTEMS BY CONTRACTORS (AUG 2010)

In performance of this contract, the contractor agrees to comply with the following requirements
and assumes responsibility for compliance by his/her employees:




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1. IRS Information Technology Security Policy and Guidance.

All current and new IRS contractor employees authorized staff-like (unescorted) access to
Treasury/IRS owned or controlled facilities and information systems, or work, wherever located,
on those contracts which involve the design, operation, repair or maintenance of information
systems and access to sensitive but unclassified information shall comply with the IRS
Information Technology Security Policy and Guidance, Internal Revenue Manual (IRM) 10.8.1.
A copy of IRM 10.8.1 may be requested from the Contracting Officer or Contracting Officer’s
Technical Representative (COTR) or obtained from the publicly available portions of the IRM at
http://www.irs.gov/irm/ .

2. Access Request and Authorization.

Within (10) business days after contract award, issuance of a task order or other award notice, or
acceptance of new or substitute contractor employees by the COTR, the contractor shall provide
the COTR and the Contractor Security Lifecycle Program, (CSLP) a list of names of all
applicable contractor employees and the IRS location(s) identified in the contract for which
access is requested. A security screening, if determined appropriate by the IRS and in accordance
with IRM 10.23.2, Contractor Investigations, and Department of the Treasury Security Manual
(TD P) 15-71, Chapter II, Section 2, will be conducted by the IRS for each contractor employee
requiring access to IRS’ IT systems, or as otherwise deemed appropriate by the COTR. The
Government reserves the right to determine the fitness or suitability of a contractor employee to
receive or be assigned staff-like access under a contract, and whether the employee shall be
permitted to perform or continue performance under the contract. Security screenings of
contractor employees which reveal the following may be grounds for declining staff-like access
under a contract: conviction of a felony, a crime of violence or a serious misdemeanor, a record
of arrests for continuing offenses, or failure to file or pay Federal income tax. (Note: This is not
an inclusive list.) Upon notification from Personnel Security of an acceptable (favorably
adjudicated) contractor employee security screening, the COTR will complete an Online 5081
(OL5081), Automated Information System (AIS) User Registration/Change Request, for each
prime or subcontractor employee and require an electronic signature from each employee
indicating the contractor employee has read and fully understands the security requirements
governing access to the Service’s IT systems. IRS approval of the OL5081 is required before a
contractor employee is granted access to, use or operation of IRS IT systems. IRM 10.8.1
includes more detailed information on the OL 5081.

3. Contractor Acknowledgement.

The contractor also acknowledges and agrees that he or she understands that all contract
employees must comply with all laws, IRS system security rules, IRS security policies,
standards, and procedures. The contractor also acknowledges that a contract employee’s
unsanctioned, negligent, or willful violation of the laws, IRS system security rules, IRS security
policies, standards, and procedures may result in the revocation of access to IRS information
technology systems, immediate removal from IRS premises and the contract, and for violations
of Federal statute or state laws, the contract employee may be subject to arrest by Federal law
enforcement agents.



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4. Limited Personal Use of Government IT Resources.

   A. Contractors, like employees, have no inherent right to use Government IT resources, and
      this policy does not create the right to use Government IT resources for nongovernmental
      purposes. However, as a courtesy, the privileges (and restrictions) established by IRM
      10.8.27, IRS Policy On Limited Personal Use of Government Information Technology
      Resources for employees, are extended to contractors.

   B. Contractors, like employees, have the privilege to use Government IT resources for
      nongovernmental purposes when such use:
      involves minimal additional expense to the Government;
      occurs during non-work hours for reasonable duration and frequency;
      does not violate the Codes of Ethical Conduct;
      does not overburden any of the IRS’ IT resources;
      does not adversely affect the performance of official duties;
      does not interfere with the mission or operations of the IRS; and
      complies with existing Federal Government, Department of the Treasury, and IRS
      policies for, but not limited to— ethics, security, disclosure, and privacy.
   C. Contractors, like employees, are specifically prohibited from inappropriate Internet usage
      such as participation in: gambling, pornography, personal communication on social
      networking sites, peer-to-peer (P2P) file sharing, downloading unauthorized programs or
      software, and other activities that open IRS information or information systems to
      security risks. Specific examples are referenced in IRM 10.8.27, Exhibit 10.8.27-1,
      Prohibited Uses of Government IT Resources.

   D. Contractors, like employees, are specifically prohibited from the pursuit of private
      commercial business activities or profit-making ventures using the Government’s IT
      resources. The ban also includes the use of the Government’s IT resources to assist
      relatives, friends, or other persons in such activities.

   E. Contractors, like employees, are specifically prohibited from engaging in any political
      fundraising activity, endorsing any product or service, participating in any lobbying
      activity, or engaging in any prohibited partisan political activity, in accordance with, Title
      5 - Code of Federal Regulations (CFR) - Part 735, Office of Personnel Management,
      Employee Responsibilities and Conduct.

    F. Contractors, like employees, should have no expectation of privacy, while using any
        Government IT resources at any time, including (but not limited to) accessing the Internet
        or using e-mail.
Any unauthorized use may be reported to the Contracting Officer’s Technical Representative
(COTR), the Contracting Officer, and the Computer Security Incident Response Center (CSIRC)
(for subsequent referral to the Department of Treasury Inspector General for Tax Administration
(TIGTA) and/or the Personnel Security, Centralized Adjudication Group (CAG), as appropriate).

5. Replacement Personnel.



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The contractor acknowledges that in the event of an alleged violation of the policies and rules on
access, use or operation of IRS’ IT resources, the IRS, at its discretion, may immediately
withdraw access privileges of the contractor employee alleged to have violated said policies and
rules, and request suspension of that employee from performance under this or any IRS contract
pending the conclusion of its investigation of the matter. At the conclusion of the its
investigation, if the IRS determines that extended or permanent revocation of access to IRS’ IT
resources computer systems and/or facilities, or other disciplinary action is warranted or in its
best interest, the contractor agrees to remove the contractor employee that was the subject of the
investigation within one day of official notification by the IRS of its access eligibility
determination, and provide a replacement within five days. Replacement personnel must be
acceptable to the IRS. The proposed replacement personnel must have a substantive amount of
experience in the job position in which they will be performing; including equal or greater
qualifications as the individual being replaced. In evaluating proposed replacement personnel,
the IRS reserves the right to make an assessment on the technical and/or professional
qualifications of the proposed substituting individual(s). The Contracting Officer (on the advice
and recommendation of the COTR) has the right to disallow the proposed substituting
individual(s) from performing under the subject contract, when the technical and/or professional
qualifications of the proposed replacement personnel are determined (1) not to be substantially
equivalent to the technical and/or professional qualifications of the personnel they are to replace,
or (2) not sufficient to reasonably insure successful performance, or (3) otherwise endanger
contract performance, progression, or completion. New hires or replacement personnel are
subject to and must receive an acceptable (favorably adjudicated) contractor employee security
screening conducted by Personnel Security.

6. Monitoring Notification.

IRS management retains the right to monitor both the content and the level of access of
contractor employees’ use of IRS IT systems. Contractor employees do not have a right, nor
should they have an expectation, of privacy while using any IRS information technology system
at any time, including accessing the Internet or using e-mail. Data maintained on government
office equipment may be subject to discovery and Freedom of Information Act requests. By
using government information technology systems, consent to monitoring and recording is
implied with or without cause, including (but not limited to) accessing the Internet or using e-
mail or the telephone. Any use of government information technology systems is made with the
understanding that such use is generally not secure, is not private and is not anonymous.

7. Subcontracts.

The Contractor shall incorporate this clause in all subcontracts, subcontract task or delivery
orders or other subcontract performance instrument where the subcontractor employees will
require access, use or operation of IRS information technology systems. [End of clause]




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                        SECTION J – LIST OF ATTACHMENTS
Exhibit 1 Surveillance Activity Checklists

   “Checklists” may be used to document contractor performance. An example of a
   “Surveillance Activity Checklist” is provided below:

                    SURVEILLANCE ACTIVITY CHECKLIST
RTS Requisition Number              Award Number (PIIN)


COR/Evaluator of
Performance
Contract Task or
Deliverable
Contract Section


Performance
Standard
Acceptable Quality
Level
Method of
Surveillance
Date Accomplished


Compliance             ___ Exceeded
                       ___ Met
                       ___ Partially Met
                           Failed To Meet
Comments/Remarks




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Exhibit 2 Decision Table

   Performance evaluators may find the use of a “decision table” helpful in documenting
   symptoms and in identifying possible sources of performance problems as well as assisting in
   the determination of contributing factors. Use of a “decision table” is optional. An example is
   provided below:

                                        DECISION TABLE
    Deficiency




    Probable Cause
    Factors/Impacting
    Conditions


    Likely Source of
    Probable Cause
    Factors/Impacting
    Conditions

    Recommended
    Contract
    Administrative Actions


    Suggested Review
    Procedures and/or
    Preventive Measures




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Exhibit 3 Performance Requirements Summary Table

PERFORMANCE REQUIREMENT:
Phase 1 –Evaluation & Presentation (Fixed-Price)
     REQUIRED             STANDARD               METHOD OF             WEIGHT
      SERVICE                                    INSPECTION
Preliminary Meeting   SECTION C              100 Percent and      5% of Phase 1
                                             Customer Complaint
Additional Meetings   SECTION C              100 Percent and      5% of Phase 1
or Calls with Service                        Customer Complaint
Detailed Briefing     SECTION C              100 Percent and      85% of Phase 1
                                             Customer Complaint
Monthly Status Report SECTION C              100 Percent          5% of Phase 1




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